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· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · FOR THE NORTHERN DISTRICT OF FLORIDA
· · · · · · · · · · ·PENSACOLA DIVISION

· · · · · · · CASE NO.:· 3:24-CV-00404-MCR-ZCB

·

· · NICHOLAS FORD AND ALONZO HAWKINS,

· · · · · · · · · ·PLAINTIFF,

· · VS.

· · SOUTHERN ROAD & BRIDGE, LLC

· · · · · · · · · ·DEFENDANT.
· · ________________________________/
·

·
· · · · · · · · ·REMOTE TELECONFERENCE VIDEO
· · · · · · · ·DEPOSITION OF:· ALONZO HAWKINS

·

· · · · · · · · · ·DATE:· January 31, 2025

·

· · · · · · ·START TIME:· 10:00 a.m - 2:00 p.m.

·

· · · · · · · · ·PLACE:· Burleson, Texas
· · · · · · · · · · · · ·Remote Teleconference
· · · · · · · · · · · · ·Video Deposition

·

·

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· · · · · · · · Stenographically Reported by:
· · · · · · · · · ALTHEA WILLIAMS-GONZALEZ
· · · · · · · · · · ·COURT STENOGRAPHER
· · · · · · · ·NOTARY PUBLIC, STATE OF FLORIDA
· · APPEARING REMOTELY FROM HILLSBOROUGH COUNTY, FLORIDA


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·1· · · · · · · · · · · ·APPEARANCES

·2

·3
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·4

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·9

10
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11

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15· · · BY:· ARTHUR L. JONES, III, ESQUIRE

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·1· · · · · · · · DEFENDANT'S EXHIBIT LIST

·2

·3· EXHIBITS· DESCRIPTION· · · · · · · · · · ·SHOWN· MARKED

·4
· · · ·1· · · · Employment Handbook· · · · · · · 42· · · 43
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10
· · · ·7· · · · Text Message· · · · · · · · · · ·84· · · 85
11
· · · ·8· · · · Text Message· · · · · · · · · · ·85· · · 86
12
· · · ·9· · · · Text Message· · · · · · · · · · ·86· · · 88
13
· · · 10· · · · Text Message· · · · · · · · · · ·88· · · 90
14
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15
· · · 12· · · · Text Message· · · · · · · · · · ·92· · · 94
16
· · · 13· · · · Text Message· · · · · · · · · · ·94· · · 97
17

18· ·(Thereupon, at the submittal of the transcript, the

19· ·exhibits had not been produced to the court reporter)

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·1· · · · · · · · · P R O C E E D I N G S

·2· Remote Teleconference Video Deposition taken before

·3· Althea Williams-Gonzalez, Notary Public in and for the

·4· State of Florida at Large in the above cause.

·5· · · · · · · · · · · · * * * * *

·6· · · · · · ·THE COURT REPORTER:· Do you solemnly swear

·7· · · · or affirm that the testimony you are about to

·8· · · · give in this cause, will be the truth, the whole

·9· · · · truth, and nothing but the truth?

10· · · · · · ·THE WITNESS:· Yes, ma'am.

11· · · · · · · · · ·DIRECT EXAMINATION

12· BY MR. JONES, III:

13· · · · Q· · How are you doing, um, Mr. -- Mr. Hawkins.

14· My name is, um, Arthur Jones.· And I'm the attorney

15· who represents, um, Southern Road & Bridge, LLC in a

16· lawsuit that you filed in the North District Court of

17· Florida; and I'm here to, um, take your deposition

18· today.· Um, could you, please, um, state your, um,

19· full first and last name for the record.

20· · · · A· · Alonzo Hawkins.

21· · · · Q· · Um, now, Mr. Hawkins, have you ever had

22· your, um, deposition taken before?

23· · · · A· · No, sir.

24· · · · Q· · All right.· Um, I just wanna go over a

25· couple of ground rules just to, um, make sure


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·1· everything goes smoothly.· First of all, we have a

·2· court reporter here that's taking down everything that

·3· we say.· Um, so just a couple of rules to make her job

·4· a little bit easier.

·5· · · · · · ·Um, if I have a -- um, I'd just ask if --

·6· if, um, I'm stating a question, um, you let me finish

·7· the question until you give an answer; um, even if you

·8· kind of anticipate, um, what I'm asking, just so we

·9· don't overtalk each other.· Is that okay?

10· · · · A· · Yes, sir.

11· · · · Q· · Now if you -- if I do ask a question and

12· you don't understand it, I'd just ask that you, um,

13· repeat -- ask me to repeat it, and I will do so.· Um

14· is that okay?

15· · · · A· · Yes, sir.

16· · · · Q· · Now if you answer the question, I'll assume

17· that you've heard it and understood it; um, and you're

18· giving your best answer.· Um, is that okay?

19· · · · A· · Yes, sir.

20· · · · Q· · And also, um, just, please, make sure that

21· you give, um, a verbal response; no shaking of your

22· head, or saying "uh-uh" or "um-um", just because it's

23· hard to take down on the transcript.· Is that okay?

24· · · · A· · Yes, sir.

25· · · · Q· · All right.· Um, now what is your, um,


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·1· current address?

·2· · · · A· · My current address is



·4· · · · Q· · One second.· Um, and how long have you

·5· lived at that address?

·6· · · · A· · Um, I just moved in 'bout, umm, four months

·7· ago.

·8· · · · Q· · Okay.· And who do you live with at that

·9· address?

10· · · · A· · Um, I currently live with family members.

11· · · · Q· · And what family members do you currently

12· live with?

13· · · · A· · Um, cousins.

14· · · · Q· · Um, what are your -- what are your cousins'

15· names?

16· · · · A· · Um, Brandon Soto.

17· · · · Q· · You said that was "Brandon"?

18· · · · A· · Yes, sir.

19· · · · Q· · Okay.· Um, is there anybody else that you

20· live with?

21· · · · A· · Um, just -- just -- just him.

22· · · · Q· · Um, now do you have any plans, um, to move

23· any time soon?

24· · · · A· · Um, yes, sir.

25· · · · Q· · Um, when are you planning on moving?
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·1· · · · A· · Um, not -- I'm not sure yet.

·2· · · · Q· · Okay.· Um, do you have like a time frame

·3· when you're expecting to make the move?

·4· · · · A· · Um, no, sir.· They, um -- he's in -- he's

·5· in -- in the middle of selling the house right now; so

·6· I don't know for sure right now.

·7· · · · Q· · Okay.· Um, and do you pay any rent at the,

·8· um, place that you live currently?

·9· · · · A· · Could you repeat that again?

10· · · · Q· · Um, do you pay any, um, rent at the place

11· that you live currently?

12· · · · A· · Yes, sir.

13· · · · Q· · Um, how much is the rent?

14· · · · A· · 550.· I just pay him 550 a month.

15· · · · Q· · Okay.· Um, and I just wanna go over a

16· couple of, um, preliminary questions.· Um, now are you

17· taking any drugs or any other medications; um, or are

18· you under the effect of alcohol that might affect your

19· ability to recall past events, or answer --

20· · · · A· · No.

21· · · · Q· · -- the questions today?

22· · · · A· · No, sir.

23· · · · · · ·MR. BARROUKH:· If I may for one second.

24· · · · Um, Alonzo, please let Mr. Jones finish his

25· · · · question.· The court reporter has to type it


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·1· · · · down; so, um, like he said, you're gonna know

·2· · · · what he's asking most of the time; but, please,

·3· · · · let him finish his question for the record.

·4· · · · · · ·THE WITNESS:· Yes, sir.· Yes, sir.

·5· BY MR. JONES, III:

·6· · · · Q· · Now are you suffering from any illnesses

·7· that would affect your ability to testify?

·8· · · · A· · No, sir.

·9· · · · Q· · Okay.· Um, now for the, um, deposition

10· today; did you talk to anyone, um, other than your

11· attorney to discuss this deposition in prepar --

12· excuse me.· In preparation for this deposition?

13· · · · A· · --

14· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

15· · · · reporter requests clarification).

16· · · · · · ·THE WITNESS:· Um, only my attorney I spoke

17· · · · with.

18· BY MR. JONES, III:

19· · · · Q· · Now I'm not wanting to know anything that

20· you and your attorney talked about.· Um, but did you

21· review any type of documents in preparation for the

22· deposition?

23· · · · A· · Yes, sir.

24· · · · Q· · Um, what documents did you review?

25· · · · A· · The -- the -- um, we went over the


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·1· document.

·2· · · · Q· · What -- what specifically?· I guess what

·3· documents did you -- did you review?

·4· · · · A· · Um, essentially, over -- over the case.

·5· · · · Q· · You mean the complaint?

·6· · · · A· · Yes, sir.

·7· · · · Q· · Did you review any, um -- um,

·8· correspondence or anything like that regarding the --

·9· the case?

10· · · · A· · Um, no.· You gotta talk to my attorney

11· about it; I'm not 100% sure.

12· · · · Q· · Okay.· Now, um, have you gone by any former

13· type of names -- or excuse me.· Any former names

14· before?

15· · · · A· · No, sir.· --

16· · · · Q· · Um --

17· · · · A· · -- sorry -- sorry about that.· Um, at,

18· um -- they -- they used to call me by -- my nickname

19· was "Trouble".· They called me -- that's what they

20· called me at Southern Road & Bridges (sic).

21· · · · Q· · You said, "Struggle"?

22· · · · A· · "Trouble".

23· · · · Q· · Oh.· "Trouble".· And why did -- why did you

24· have that nickname?

25· · · · A· · Um --


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·1· · · · · · ·MR. BARROUKH:· Objection.· Ob -- object to

·2· · · · the form.· It calls for speculation.· You can

·3· · · · answer; if you know.

·4· · · · · · ·MR. JONES, III:· You can answer, sir.

·5· · · · · · ·MR. BARROUKH:· Alonzo, if you know; you can

·6· · · · answer.

·7· · · · · · ·THE WITNESS:· Oh.· Yes, sir.· Um, I been

·8· · · · having that nickname since I was three years

·9· · · · old.

10· BY MR. JONES, III:

11· · · · Q· · Okay.· Um, the current address that you're

12· staying now, do you have a -- a residential, um, phone

13· that you use at that address?

14· · · · A· · Just my cellphone.

15· · · · Q· · Um, and what is your, um, cellphone number?

16· · · · A· · 682-338-9689.

17· · · · Q· · And who -- what, um, cellphone, um, service

18· is that with?

19· · · · A· · Um, Verizon.

20· · · · Q· · And how long have you had that number?

21· · · · A· · Um, I'd say about four months now.

22· · · · Q· · Okay.· And what, I guess, company were you

23· with before that?

24· · · · A· · Um, I was with Verizon.

25· · · · Q· · Okay.· So you just changed -- I guess


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·1· changed your number?

·2· · · · A· · Yes, sir.

·3· · · · Q· · And do you recall what your number was

·4· before that?

·5· · · · A· · Um, 817-97 -- I mean, 907-20 -- um, 6921.

·6· · · · Q· · And how long did you have that number,

·7· approximately?

·8· · · · A· · For about a year.

·9· · · · Q· · Okay.· Um, did you have Verizon at the time

10· of this, um, while you were working at Southern?

11· · · · A· · Yes, sir.

12· · · · Q· · Was it the same number, or was it a

13· different number?

14· · · · A· · Um, it was the "907" number.

15· · · · Q· · Okay.· The "907" number.· Okay.· Now, um,

16· Madam Court Reporter, can we go off the record?

17· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

18· · · · reporter answers in the affirmative).

19· (Thereupon, a discussion off the record was held)

20· · · · · · ·MR. JONES, III:· Um, sir, what is your, um

21· · · · --

22· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

23· · · · reporter inquired if we were back on the

24· · · · record).

25· · · · · · ·MR. JONES, III:· Back on the record.· Sorry


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·1· · · · about that.· Now, sir, what is your, um, date of

·2· · · · birth?

·3· · · · · · ·THE WITNESS:· It's -- it was on my driver's

·4· · · · license.· Um --

·5· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

·6· · · · reporter requests clarification).

·7· · · · · · ·THE WITNESS:·                   .

·8· BY MR. JONES, III:

·9· · · · Q· · And where were you born?

10· · · · A· · Mansfield, Texas.

11· · · · Q· · And is that where you, I guess you could

12· say, grew up or spent the majority of your, um, life

13· in -- in Mansville (sic)?

14· · · · A· · "Mansfield".

15· · · · Q· · Okay.· Is that where you spent -- is that

16· where you grew up at?

17· · · · A· · Yes, sir.

18· · · · Q· · And when did you move to -- to Florida?

19· · · · A· · Um, I never move -- I never moved to

20· Florida.

21· · · · Q· · Now are you married or -- or single?

22· · · · A· · Single.

23· · · · Q· · Have you ever been married?

24· · · · A· · Um, no, sir.· I was en -- I was engaged.

25· · · · Q· · And when was that?
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·1· · · · A· · From 2020 until 2024.

·2· · · · Q· · Okay.· And who were you engaged with?

·3· · · · A· · With -- with my fiancee.

·4· · · · Q· · What was, um, her name?

·5· · · · A· · Um, can I talk to my attorney?

·6· · · · Q· · Yeah.

·7· · · · · · ·MR. BARROUKH:· Off the record, please,

·8· · · · Ms. Court Reporter.

·9· ·(Thereupon, a discussion off the record was held)

10· · · · · · ·MR. BARROUKH:· All right.· We can go back

11· · · · on the record, Ms. Court Reporter.· Thank you.

12· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

13· · · · reporter answers in the affirmative).

14· · · · · · ·THE WITNESS:· Her name is Amanda Claiborne.

15· BY MR. JONES, III:

16· · · · Q· · And have you ever been engaged or married

17· to anyone else, um, besides her?

18· · · · A· · No, sir.

19· · · · Q· · Do you remember the -- I guess the date

20· that you got engaged, um, in 2020?

21· · · · A· · Um, March the 31st, of 2020.

22· · · · Q· · Um, now do you have any other, um -- um, or

23· excuse me.· Do you have any children?

24· · · · A· · Yes, sir.

25· · · · Q· · Um, how many children do you have?


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·1· · · · A· · Two.

·2· · · · Q· · And what are their, um, ages?

·3· · · · A· · 14 and 11.

·4· · · · Q· · And what are their names?

·5· · · · A· · Um, my daughter's name is

             ; and my son's name is                        .

·7· · · · Q· · Now are you currently, um, supporting, um,

·8· your two children?

·9· · · · A· · Yes, sir.

10· · · · Q· · Um, do they -- do they stay with you

11· currently?

12· · · · A· · No, sir.· They stay -- stay with they mom.

13· And --

14· · · · Q· · Okay.

15· · · · A· · -- um, and my daughter stay with her

16· grandparents.

17· · · · Q· · Okay.· And are they both in, um, Texas?

18· · · · A· · Yes, sir.

19· · · · Q· · Now, um, have you ever been, um, arrested

20· or convicted of a crime?

21· · · · A· · Yes.

22· · · · Q· · Um, and what -- what crime is that?

23· · · · A· · Um, back in 2018, it was a DWI.

24· · · · Q· · Um, do you remember, um, I guess how that

25· case was resolved, or how -- what happened in that
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·1· case?

·2· · · · A· · Um, yes.

·3· · · · · · ·MR. BARROUKH:· I'm gonna -- Alonzo, I'm

·4· · · · gonna object.· Um, only answer -- if you know

·5· · · · the terms of the settlement for whatever reason,

·6· · · · only answer what you're allowed to speak about.

·7· · · · · · ·If anything is privileged, or would violate

·8· · · · your attorney/client relationship in that

·9· · · · matter, don't answer it; but if you know

10· · · · information that you're allowed to speak about,

11· · · · you can provide an answer.

12· · · · · · ·MR. JONES, III:· You can go ahead.· Do you

13· · · · know --

14· · · · · · ·MR. BARROUKH:· Alonzo, you can go ahead;

15· · · · if -- if you know.

16· · · · · · ·THE WITNESS:· Yeah.· I don't -- yeah.               I

17· · · · don't know.· That's --

18· · · · · · ·MR. BARROUKH:· Arthur, I'm just gonna

19· · · · assert a -- an attorney/client privilege for

20· · · · that objection from his prior relationship.

21· · · · I -- I don't want him to break privilege, um, or

22· · · · break the terms of that settlement in the event

23· · · · it would, okay?

24· BY MR. JONES, III:

25· · · · Q· · Okay.· Um, now did you have any other


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·1· arrests or convictions?

·2· · · · A· · No, sir.

·3· · · · Q· · Now going back to the, um -- um, the event

·4· or the DUI in 2018; what -- um, where did that occur?

·5· · · · A· · I'm not, um -- I'm not 100% sure.

·6· · · · Q· · Did it occur in Texas?

·7· · · · A· · Yes.

·8· · · · Q· · Um, do you know, I guess, the city?

·9· · · · A· · I can't --

10· · · · · ·(Thereupon, a telephone is ringing)

11· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

12· · · · reporter requests clarification).

13· · · · · · ·THE WITNESS:· I can't -- I can't recall.

14· · ·(Thereupon, a telephone is continuing to ring)

15· · · · Q· · All right.· Um, now have you ever served in

16· the, um, military?

17· · · · A· · No, sir.

18· · · · Q· · Um, have you ever declared, um, for

19· bankruptcy?

20· · · · A· · No, sir.

21· · · · Q· · And I just wanted to get a little

22· background information about your, um, education.

23· Where, um, did you attend high school?

24· · · · A· · Um, here in Mansfield, Texas.

25· · · · Q· · And what was the name of the high school?


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·1· · · · A· · Mansfield High.

·2· · · · Q· · And what years did you attend there?

·3· · · · A· · From 2004 to 2008.

·4· · · · Q· · And did you graduate?

·5· · · · A· · A year early, yes, sir.

·6· · · · Q· · And did you have any, um, education after

·7· high school?· Did you go to college or anything?

·8· · · · A· · No, sir.

·9· · · · Q· · Um, did you go to any type of, um, trade

10· school?

11· · · · A· · Um, no, sir.

12· · · · Q· · Um, now are you currently, um, employed?

13· · · · A· · Yes, sir.

14· · · · Q· · Um, who are you, um, currently employed

15· with?

16· · · · A· · J -- J.B. Hunt.

17· · · · Q· · And when did you start working with them?

18· · · · A· · Um, give -- give me a -- give me a minute.

19· Um, I just started back this month, but I'm not sure

20· what date.

21· · · · Q· · Okay.

22· · · · · · ·MR. BARROUKH:· Alonzo, I'm gonna for the

23· · · · record just state, Don't look at any other

24· · · · documents while Mr. Jones is asking you

25· · · · questions; use your memory and your


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·1· · · · recollection.

·2· · · · · · ·Um, If you can't remember, you can also

·3· · · · say, "You don't remember".· But don't -- don't

·4· · · · look at any other documents during this

·5· · · · deposition.

·6· · · · A· · Yes, sir.· I -- I believe it was January --

·7· Jan -- January the 8th.

·8· · · · Q· · Of this -- this year?

·9· · · · A· · Yes, sir.

10· · · · Q· · And what is, um, your position at that

11· company?

12· · · · A· · --

13· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

14· · · · reporter requests clarification).

15· · · · · · ·THE WITNESS:· A drive -- driver and

16· · · · delivery.

17· BY MR. JONES, III:

18· · · · Q· · And J.B. Hunt, what kinda -- what kinda

19· company is that?

20· · · · A· · Um, we -- um, we deliver appliances, and --

21· and deliver to Home Depot.

22· · · · Q· · Okay.· And have you been a -- a driver in

23· delivery since you, um, started there?

24· · · · A· · Yes, sir.

25· · · · Q· · Now, um, as far as your position -- or


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·1· excuse me, your duties with that position, would it

·2· just -- what would your duties be?

·3· · · · A· · Um, just they -- they send -- they send me

·4· a location, and -- and I drive to that location, and

·5· pick up the -- pick up the delivery.

·6· · · · Q· · So I guess they -- they send you on a

·7· different -- um, a number of different deliveries

·8· throughout the day; and you have to just go and

·9· complete them?

10· · · · A· · Yes, sir.

11· · · · Q· · Um, and what is your, um -- what is your

12· rate of pay at this job?

13· · · · A· · Um, 27.50 an hour.

14· · · · Q· · And this a full-time or a part-time job?

15· · · · A· · A full-time.

16· · · · Q· · How many hours would you say that you work

17· a week?

18· · · · A· · 'Bout -- 'bout 80.

19· · · · Q· · And how did you find out about this

20· position?

21· · · · A· · Um, my -- my brother; he -- um, he worked

22· there also.

23· · · · Q· · So did he -- and what do you mean by, "Your

24· brother"?

25· · · · A· · Nicholas Ford.


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·1· · · · Q· · So did he get the position before you did?

·2· · · · A· · Yes, sir.

·3· · · · Q· · Did he, I guess, refer you, or how did you

·4· apply to --

·5· · · · A· · He -- he referred me, and then I -- I -- I

·6· applied from off the, um, in -- off the -- off of

·7· Indeed, and -- and I went to the actual website.

·8· · · · Q· · Now with this job, um, do you have to clock

·9· in?

10· · · · A· · Um, yes, sir.

11· · · · Q· · And how does that system work as far as,

12· um, clocking in with you delivering and -- and -- and

13· stuff like that?

14· · · · A· · Um, we clock -- we clock in from our -- um,

15· from our trucks.· Um, it's -- it's like a black box we

16· log into.

17· · · · Q· · And is that, I guess, the trucks at the

18· facility that you go to?

19· · · · A· · Yeah.· Yes, sir.

20· · · · Q· · And you -- when do you clock out?

21· · · · A· · Um, whenever the -- whenever the job's

22· done.· But we can't drive over ten -- um, ten hours.

23· Over 12 -- 12 hours.· I'm sorry.

24· · · · Q· · And that -- when you say, "You can't drive

25· over, um, 12 hours"; what does that -- what do you


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·1· mean by that?

·2· · · · A· · That's a US -- um, that's a -- it -- it's a

·3· safe -- a safety -- a safe -- a safety hazard.

·4· · · · Q· · You're not allowed -- are you saying you're

·5· not allowed to drive over -- or you're not allowed to

·6· work for over 12 hours in a day?

·7· · · · A· · Yes, sir.

·8· · · · Q· · Okay.· And who are your, um, supervisors at

·9· this -- at this position?

10· · · · A· · Um, his name James.

11· · · · Q· · Do you know his last name?

12· · · · A· · Um, it's Carocco (phonetic) or something.

13· Um, I -- no.· I'm not sure what his last name is.

14· · · · Q· · Now this position, do you receive any type

15· of benefits?

16· · · · A· · Um, yes, sir.· Um -- um, health -- um,

17· health care insurance.

18· · · · Q· · Do you receive any type of 401K or

19· retirement benefits?

20· · · · A· · Yes, sir.

21· · · · Q· · Um, are there any other benefits, like

22· dental or anything like that, that you receive?

23· · · · A· · Um, no, sir.

24· · · · Q· · Um, now where were you, um, employed before

25· this job that you started in January?


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·1· · · · A· · Um, The --

·2· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

·3· · · · reporter requests clarification).

·4· · · · · · ·THE WITNESS:· The Rios Group.

·5· BY MR. JONES, III:

·6· · · · Q· · And what -- what is that company, "E. Rios

·7· Group" (sic)?

·8· · · · A· · Um, it is a utilities and, um, gas

·9· pipelines.

10· · · · Q· · You said you got -- the -- the company

11· works on utilities and gas pipelines?

12· · · · A· · Yes, sir.

13· · · · Q· · Um, and when did you start this position?

14· · · · A· · Um, March the -- March the 18th, of 2024.

15· · · · Q· · What was your position at this company?

16· · · · A· · Um, what was it?· Um, a H -- a HV -- um,

17· HVAC.· I did H -- um, HVAC.

18· · · · Q· · And what was your -- I guess your

19· responsibilities or duties, um, with that position?

20· · · · A· · Um, make sure everything was working well

21· and, um, properly done as correct.

22· · · · Q· · And when you say, "Everything is done

23· well"; what do you mean by that?

24· · · · A· · Make sure no -- no pipes are -- no pipes or

25· utilities was damaged while we was digging.


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·1· · · · Q· · So, would you go -- um, I guess could you

·2· explain a little bit more about the job?· Would you go

·3· to some -- a residential home?· Or what would you, I

·4· guess --

·5· · · · A· · Oh.· Sorry.· We'll -- we'll go to -- we'll

·6· go to residential home -- um, homes; and we'll go to

·7· the airports; and the -- um, or the military base.

·8· Things like that.

·9· · · · Q· · So did you just have like an assignment,

10· um, throughout the day, um, on what specific area you

11· were going to?

12· · · · A· · Um, they -- they'll give us assignment

13· through, um -- from -- through -- through the week

14· what area -- what areas we go to; 'cause sometimes,

15· we'll travel throughout Texas.

16· · · · Q· · And did you start at the, um -- the HVAC

17· position, um, with that company?

18· · · · A· · Yes, sir.

19· · · · Q· · And what was your, um, rate of pay?

20· · · · A· · Only 17 -- only seven -- 17 an hour.

21· · · · Q· · And how was your, um -- or excuse me.

22· Strike that.· Um, how many hours would you say that

23· you averaged a week, um, with this -- with this

24· company?

25· · · · A· · About 60.


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·1· · · · Q· · And did you have to clock in, um, with this

·2· position too?

·3· · · · A· · Yes, sir.

·4· · · · Q· · Um, how did that system work?

·5· · · · A· · Um, if I was in town, we'll -- we'll just

·6· walk in and, um -- and we'll log in from -- we'll log

·7· in from our phones.· And if we was outta -- if we was

·8· outta town, we would have to, um, call in and -- and

·9· whatnot.

10· · · · Q· · So you had jobs -- I guess they would send

11· you on jobs that were out of -- out of the city -- um,

12· outside of the city and you would have to go to those?

13· · · · A· · Yeah.· Yes, sir.· Some -- sometimes, we'll

14· go there and stay -- stay there about two weeks.

15· · · · Q· · Okay.· Now was this a position that was,

16· um, full or part-time?

17· · · · A· · It was a full-time.

18· · · · Q· · And who were your supervisors, um, at this

19· position?

20· · · · A· · --

21· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

22· · · · reporter requests clarification).

23· · · · · · ·THE WITNESS:· Craig Miller.

24· BY MR. JONES, III:

25· · · · Q· · And how did you find out about this


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·1· position?

·2· · · · A· · Indeed.com.

·3· · · · Q· · Um, so you just searched, I guess, for --

·4· was searching on Indeed; and found this, um, company;

·5· and decided to apply to it?

·6· · · · A· · Yes, sir.

·7· · · · Q· · Um, now what were your reasons, um, for

·8· leaving this job?

·9· · · · A· · Um --

10· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

11· · · · reporter requests clarification).

12· · (Thereupon, a discussion off the record was held)

13· · · · · · ·MR. BARROUKH:· No.· He does sound like he's

14· · · · underwater a little bit; but try one more time,

15· · · · Alonzo.

16· · · · · · ·THE WITNESS:· Um, I found a better paying

17· · · · job.

18· BY MR. JONES, III:

19· · · · Q· · And how did you leave, um, when you left

20· this job?

21· · · · A· · Um, I -- I gave them a two weeks notice.

22· · · · Q· · Did you do it verbally, or was it in

23· writing?

24· · · · A· · Um, verbally.

25· · · · Q· · And who did you give the notice to?


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·1· · · · A· · Craig Miller.

·2· · · · Q· · Now you said that, um, you found this job

·3· on Indeed.· Um, were you looking, um, for a position

·4· at that time?

·5· · · · A· · Yes, sir.· 'Cause I -- 'cause I currently

·6· left -- well, got fired at Southern Road & Bridges

·7· (sic).

·8· · · · Q· · Now do you remember, um, the position that

·9· you had prior to when you started working at Southern

10· Road?

11· · · · A· · Could you explain -- could you, um, repeat

12· that again?

13· · · · Q· · Do you remember the -- the job that you had

14· before you started working with Southern Road?

15· · · · A· · Um, I used to work on the oil rigs.

16· · · · Q· · And was that with a specific company?

17· · · · A· · Um -- um --

18· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

19· · · · reporter requests clarification).

20· · · · · · ·THE WITNESS:· Hel -- Helmerich & Payne.

21· BY MR. JONES, III:

22· · · · Q· · And when did you, um, start working with

23· them?

24· · · · A· · Um, I can't re -- I can't recall.

25· · · · Q· · Do you remember what year it was?


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·1· · · · A· · Um, 2022.

·2· · · · Q· · And what was your position with that, um,

·3· company?

·4· · · · A· · I was a Floor Hand.· A Floor Hand.

·5· · · · Q· · Can you explain that a little bit about

·6· what that is?

·7· · · · A· · Oh, yes, sir.· Um, we -- we connect drill

·8· pipes on the -- on the oil rigs; and keep -- keep the

·9· floor maintained.· And we do whatever the driller

10· ask -- the driller asks us to do.

11· · · · Q· · Now the oil rig; excuse me.· But, um, could

12· you explain, I guess, what exactly this is?· Um, like

13· the oil rigs that you guys were working on?

14· · · · A· · Yes, sir.· We -- we drill crude -- crude

15· oil, and we travel throughout the United States.

16· · · · Q· · I guess would you -- would you all travel

17· together?· Or how would that work?· Would you drive to

18· a location?

19· · · · A· · Um, sometimes.· Like I say, it's a real big

20· company; so they'll just put us in a -- in a group and

21· send us to a oil rig.

22· · · · Q· · Okay.· Were you ever promoted at this,

23· um -- when you were at this position?

24· · · · A· · Yes, sir.

25· · · · Q· · Um, what position did you start off with?


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·1· · · · A· · I started off as Floor Hand, and they

·2· promoted me to Motor -- Motor Hand.

·3· · · · Q· · And what are the differences between those

·4· two positions regarding, I guess, like the

·5· responsibilities?

·6· · · · A· · Um, we gotta make sure all the machines are

·7· working correctly; and if they break down, we have to

·8· fix 'em.· We have to repair 'em on-site.

·9· · · · Q· · And what is that that's so -- that's the

10· responsibilities of what -- what position?

11· · · · A· · Um, Motor Hand.

12· · · · · ·(Thereupon, a telephone is ringing)

13· · · · Q· · Okay.· And what was your current rate of

14· pay, um, at that position?

15· · · · · · ·MR. BARROUKH:· Um, I'm sorry.· I'm -- I'm

16· · · · getting a phone ringing in the background.· I'm

17· · · · not sure if anyone can hear that?· Um, I'm just

18· · · · gonna ask Arthur, Might -- maybe it's your

19· · · · phone?· If you can lower the volume on that, I

20· · · · would appreciate it.· I just can't hear the

21· · · · questions over it.

22· · · · · · ·MR. JONES, III:· (Thereupon, Mr. Jones

23· · · · complies).

24· · · · · · ·MR. BARROUKH:· Thank you.

25· BY MR. JONES, III:


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·1· · · · Q· · Now what was your, um, rate of pay, um, at

·2· this position?

·3· · · · A· · Um, I started -- I started at $28 a Floor

·4· Hand.· And then when I got bumped up to Motor Hand,

·5· they raised me to $32 an hour.

·6· · · · Q· · Now when, um, in the employment did you

·7· actually receive the promotion?

·8· · · · A· · Maybe about six -- six months when I was

·9· working there.

10· · · · Q· · Now while you were there, did you receive

11· any, um -- or excuse me.· Strike that.· What was the,

12· um, setup as far as clocking in, um, with this

13· position?

14· · · · A· · Oh.· They -- we had to -- we had to clock

15· in -- um, clock in once we got on the rig.

16· · · · Q· · Now with this position, did you have any,

17· um, type of benefits?

18· · · · A· · Yes, sir.· I had all -- all the benefits.

19· · · · Q· · And what were those?

20· · · · A· · Um, I had the health insurance; the 401K;

21· um, they would -- they matched my investments to the

22· company; and, um, I had dental insurance and

23· everything.

24· · · · Q· · And what was your reasons, um, for leaving

25· with this position?


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·1· · · · A· · Um, the oil rig shut down, and they laid

·2· off a bunch of people.

·3· · · · Q· · Okay.· Now, um, when they shut it, when --

·4· do you remember when it -- this happened?

·5· · · · A· · I'm not -- I can't recall.

·6· · · · Q· · Do you remember how long it was in between,

·7· um, that you had this position, to when you started

·8· working with Southern Road?

·9· · · · A· · I know -- I know it's from 2021 to '22; but

10· I'm not sure what -- what -- what actual date or

11· month -- I mean, what month it was.

12· · · · Q· · Now during this time, um -- this time when

13· you were -- after the oil rig shut down and before,

14· um, you started working with Southern, um, Bridge,

15· what jobs did you apply to, um, during that time?

16· · · · A· · Um, I was just working -- I was just

17· working for myself.· Doing contract work for myself.

18· · · · Q· · And what type of work?· What type of

19· contract work did you do?

20· · · · A· · Um, I was building fences; and, um, weld --

21· welding; and I was pressure -- pressure washing

22· driveways; and mowing lawns.

23· · · · Q· · And how -- how much would you say that you

24· made during this time?

25· · · · A· · I'm not -- I'm not really sure.               I


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·1· didn't -- I didn't keep up with it; but it -- it paid

·2· my bills.

·3· · · · Q· · Um, now would this amount be reflected in

·4· your, um, tax returns for that year?

·5· · · · A· · Um, no, sir.

·6· · · · Q· · And -- and why is that?

·7· · · · A· · 'Cause I got paid cash.

·8· · · · Q· · Okay.· Did you file taxes that year?

·9· · · · A· · No, sir.

10· · · · Q· · Now, um, going back, um, say the -- the

11· past ten years, has there ever been a -- a gap, um,

12· other than this one where you were, um -- had a period

13· of unemployment?

14· · · · A· · No, sir --

15· · · · Q· · Excuse me?

16· · · · A· · No, sir.

17· · · · Q· · Now when you say that you were contracting

18· during the time before you, um, started working with,

19· um, Southern Road, did you submit any other type of,

20· um, job applications?

21· · · · A· · No.· No, sir.

22· · · · Q· · Um, did you, um, look for a job anyway at

23· that time?

24· · · · A· · Um, yes, sir.· I -- I -- I did.· I tried to

25· apply to my, um -- my old jobs.· And but like I said,


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·1· they was not -- nobody was hiring.

·2· · · · Q· · Um, now which job -- when you say, "You

·3· applied to your old jobs"; which job specifically did

·4· you apply to?

·5· · · · A· · Well, H --· with H& -- H&P.· Helmerich &

·6· Payne.

·7· · · · Q· · And did you submit a, um, application, or

·8· how did you do that?

·9· · · · A· · Naw.· I just -- I just gave -- I just gave

10· my, um -- my supervisor a call, and asked em, "Are

11· they -- are they -- are they hiring?"· But he said,

12· "No".· "Nobody's hiring at the moment".

13· · · · Q· · And did you, um, I guess, ever send them

14· your resume or anything?

15· · · · A· · No.· No, sir.· I just gave -- I just gave

16· 'em a phone call.

17· · · · Q· · And other than the -- that -- or that, um,

18· job that you worked at previously, did you, um, look

19· for any other positions during that time?

20· · · · A· · No, sir.

21· · · · Q· · Um, did you use any of the sites, the job,

22· um, searching sites like Monster; or Indeed; or

23· CareerBuilder?

24· · · · A· · No, sir.

25· · · · Q· · So I guess, um, did -- well, at that --


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·1· during that time, how often would you say that you

·2· were looking for a job?

·3· · · · A· · Um --

·4· · · · · · ·MR. BARROUKH:· Object to the form.· You can

·5· · · · answer.

·6· · · · · · ·MR. JONES, III:· You can answer.

·7· · · · · · ·MR. BARROUKH:· Yeah.· You can answer.               I

·8· · · · think he was asking, "How many times you looked

·9· · · · for a job after SRB?"

10· · · · · · ·MR. JONES, III:· Excuse me.· Um, I wouldn't

11· · · · need you to rephrase the question; so I can

12· · · · rephrase.· So, sorry.· I just don't want you,

13· · · · you know, coaching the witness here.

14· · · · · · ·MR. BARROUKH:· That's fine.· I just wasn't

15· · · · sure if he heard.· But you can go ahead and

16· · · · rephrase the question.

17· BY MR. JONES, III:

18· · · · Q· · I said, At this time, what -- how often

19· would you say that you were looking for a job?

20· · · · A· · Um, I -- I can't -- I can't recall.

21· · · · Q· · Would you say that it was like every day;

22· or every month; week?

23· · · · A· · No, sir.· I -- I was pretty -- I was pretty

24· busy doing -- doing -- doing what I was doing.

25· · · · Q· · Now did you ever, um, at that time collect


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·1· any Unemployment?

·2· · · · A· · No, sir.· I never -- I never filed for

·3· Unemployment.

·4· · · · Q· · And did you receive any other income, um,

·5· during this time of your unemployment, other than, um,

·6· the contract work that you were doing?

·7· · · · A· · No, sir.

·8· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·9· · · · answer.· You can answer.

10· · · · · · ·THE WITNESS:· No, sir.

11· BY MR. JONES, III:

12· · · · Q· · Now, um, have you ever been a, um, party in

13· a lawsuit, or any type of administrative hearing other

14· than, um, this lawsuit that we're here, um, for today?

15· · · · A· · No, sir.

16· · · · Q· · Um, other than this charge that you're

17· making against Southern Road, um, have you ever made

18· any other, um -- um, claims to an admin --

19· administrative agency?

20· · · · A· · No, sir.

21· · · · Q· · Now at any of the other jobs that you

22· worked previously, um, have you ever filed for

23· Unemployment with them after you left?

24· · · · A· · No, sir.

25· · · · Q· · Um, have you ever had, um, any other


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·1· Workers' -- any past Workers' Compensation claims?

·2· · · · A· · No, sir.

·3· · · · Q· · Um, have you ever applied for any type of,

·4· um, Disability benefits?

·5· · · · A· · No, sir.

·6· · · · Q· · All right.· Um, I wanna turn your attention

·7· to the employment, um, that you had with Southern

·8· Road, um, and just ask you a couple -- or, um, some

·9· questions regarding that.· Um, now how did you find

10· out about that position?

11· · · · A· · Um, my brother -- my brother was out there

12· and he gave me a call.

13· · · · Q· · So your brother started working there, um,

14· pre -- um, before you did?

15· · · · A· · Yes, sir.

16· · · · Q· · And when you say, "He gave you a call";

17· what was the call regarding?

18· · · · A· · About a position --

19· · · · Q· · Um --

20· · · · A· · -- in Florida.

21· · · · Q· · -- did you apply, um, for the position?

22· · · · A· · Yes, sir.· Well, they -- what -- what

23· happened was, um, he -- he -- my brother gave me a

24· call, and he came and picked me up from my -- um, him;

25· Isaac; and, um -- um, what was it?· Pollo, they came


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·1· and picked -- they came and picked me up from my

·2· house, and -- and then we drove back to Florida.

·3· · · · Q· · So did you talk to anyone at Southern Road

·4· regarding the position?· Or --

·5· · · · A· · I didn't talk to nobody 'til probably about

·6· three days after I started working there.

·7· · · · Q· · Now you said someone came and picked you up

·8· at your house.· Who was it that you said?

·9· · · · A· · Nicholas -- Nicholas Ford; and Isaac; and

10· Pollo.

11· · · · Q· · And what did they say when they picked you

12· up from your house?

13· · · · A· · Um, that they -- they just introduced me,

14· and they just told me how they -- how they knew my --

15· how they knew my brother and whatnot.· And talking

16· about the job; and work; and everything.

17· · · · Q· · What did they tell you about the job?

18· · · · A· · Um, he just -- just told me, um, they just

19· repairing the bridge, and -- and he's doing traffic

20· control.

21· · · · Q· · So did you ever interview with anybody, um,

22· regarding this position?

23· · · · A· · No, sir.· Um, whenever I -- um, probably,

24· like I said, the third day I was there, I -- that's

25· when I fill -- filled out my application with Ryan


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·1· Witt.

·2· · · · Q· · One second.· And do you remember the date

·3· that you were hired?

·4· · · · A· · It -- I know it was, um -- it was after --

·5· it was after, um -- um, Easter.

·6· · · · Q· · Okay.· And what year was this?

·7· · · · A· · 2023.

·8· · · · Q· · And do you know who was the person that

·9· you -- that hired you?

10· · · · A· · Um, Ryan Witt.

11· · · · Q· · What conversation did you have with, um,

12· Mr. Witt regarding, um, starting this pos -- starting

13· this employment with this, um -- or with, um, Southern

14· Road?

15· · · · A· · Really he just -- he gave me a call and

16· just told me to come in his room and fill out an

17· application.· And -- and he -- and he asked for my,

18· um -- for my account number so he -- so he can pay me

19· Friday.· I mean, so he can get my, um -- my -- my

20· bankroll checks in.

21· · · · Q· · And what was this -- when did this, um, I

22· guess, conversation happen?

23· · · · A· · Like I said, it was like three -- three

24· days prior to, um, me -- of me getting hired.· The

25· three -- no.· Three days, um, before I came -- um,


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·1· after I came.

·2· · · · Q· · Now you said when you got in the truck,

·3· um -- or excuse me.· Not, "Got in the truck".· When

·4· you said that you drove to Florida, um, after your

·5· brother, um, and Isaac came and picked you up, um, did

·6· you guys start working on a -- a site -- or excuse me.

·7· A job when you first got out there?· Or what -- what

·8· happened when you first went out there to Florida?

·9· · · · A· · Yeah.· When I first --

10· · · · · · ·MR. BARROUKH:· Objection.· Objection to

11· · · · form.· You can answer.

12· · · · · · ·MR. JONES, III:· You can answer.

13· · · · · · ·THE WITNESS:· Yeah.· Um, I got -- we got

14· · · · there; and I put my stuff in my room in the

15· · · · hotel; and we -- we worked that -- that same --

16· · · · that same night.

17· BY MR. JONES, III:

18· · · · Q· · Now you say that, "You worked that same

19· night"; what -- what type of work did you do?

20· · · · A· · Um, we was repairing the Destin Bridge.

21· · · · Q· · Now when you started with, um, Southern

22· Bridge -- "Southern Road", excuse me; when, um -- what

23· was the position that you originally held?

24· · · · A· · Um, a helper.· That's -- a helper.

25· · · · Q· · And what were your roles and


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·1· responsibilities, um, with that position?

·2· · · · A· · Um, picking up --

·3· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

·4· · · · reporter requests clarification).

·5· · · · · · ·THE WITNESS:· Um, picking up all of the

·6· · · · traffic signs; and I had to help with whatever

·7· · · · the -- the foreman needed.

·8· BY MR. JONES, III:

·9· · · · Q· · Now did you have -- with this position, did

10· you have different, um, locations or work sites that

11· you would go to?

12· · · · A· · Just one.

13· · · · Q· · And where was that, um, location?

14· · · · A· · Destin, Florida.· Um, sorry 'bout that.· I,

15· um -- and then like at the end of -- end of my

16· employment, be -- like a week before; we, um -- we was

17· working in Orlando.

18· · · · Q· · Now when you would go to these -- or when

19· you would be at these jobsites, would it be, um,

20· different employees, um, there each day, or was it

21· kind of the -- the same group of people?

22· · · · A· · The same group of people.· Except when we

23· went to Orlando.

24· · · · Q· · And how long would you say that you were at

25· the Destin, um, Florida jobsite?


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·1· · · · A· · About eight months.· Nine -- eight, nine

·2· months.

·3· · · · Q· · And what was the job -- what was the job

·4· out there?· Were you, I guess, working on a long-term

·5· project?

·6· · · · A· · Yes, sir.· Working at the bridge.· Like I

·7· said, um, repairing the bridge so they can, um -- from

·8· what I was told, they was wanting to repair the bridge

·9· so they can make a new one.

10· · · · Q· · And how many hours would you say that you

11· typically worked a week, um, with this position?

12· · · · A· · Um, 60 hours.

13· · · · Q· · And was this, um, pretty much the same in

14· all the positions you worked at?

15· · · · · · ·MR. BARROUKH:· Objection to form.· You can

16· · · · answer.

17· · · · · · ·MR. JONES, III:· You can answer.

18· · · · · · ·MR. BARROUKH:· You can answer.

19· · · · A· · No.

20· · · · Q· · Now you said that you met with, um, Ryan

21· Witt regarding -- and you filled out an application.

22· Um, were you given any type of documents or anything

23· at that time?

24· · · · A· · No, sir.· I just filled out the paper; and

25· I saw him put it in the fax machine and sent -- sent


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·1· it over.· That was about it.

·2· · · · Q· · Um, one second.· All right.· I wanna just

·3· share my screen here with you quick.· Um, are you able

·4· to see this, sir?

·5· · · · A· · Yes, sir.

·6· · · · Q· · Um, is this your, um, signature at the

·7· bottom?

·8· · · · A· · No, sir.

·9· · · · Q· · So, it's your testimony that you didn't

10· sign this?

11· · · · A· · Could you say it again?

12· · · · Q· · I said, "It's your testimony that you

13· didn't sign this document"?

14· · · · A· · No, sir.· No, sir.

15· · · · Q· · Did you receive, um, a copy of the Employee

16· Handbook?

17· · · · A· · Um, no, sir.

18· · · · Q· · Have you ever read the Employee Handbook?

19· · · · A· · No, sir.

20· · · · Q· · Did you ever ask for a copy?

21· · · · A· · They -- they never -- I never received one.

22· · · · Q· · No.· I was asking, "Did you ask for a

23· copy"?

24· · · · A· · Oh.· No, sir.

25· · · · Q· · Now when you say that, "You went to


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·1· Mr. Witt and filled out a application"; what exactly

·2· application did you fill out?

·3· · · · A· · It was just 'bout two -- two or three

·4· pages.· Like I say, I, um, filled out my -- my name;

·5· and, um, my address; and gave 'em my -- my bank

·6· account.

·7· · · · · · ·My pay -- my bank account where I wanted my

·8· money at.· But other than that, I didn't -- I

·9· didn't -- I didn't see no Employment Handbook or none

10· of that.

11· · · · Q· · All right.· Um, Madam Court Reporter, I'd

12· like to mark this as "Defense Exhibit 1".· Just give

13· me one second.

14· · · · A· · Yes, sir.· That's my handwriting.

15· · · · · · ·MR. BARROUKH:· Let him ask a question

16· · · · first.

17· · · · Q· · Is this form, um, the Direct Deposit Form,

18· um, you were referring to?

19· · · · A· · Yes, sir.

20· · · · Q· · All right.· Did you sign this, um, document

21· here?

22· · · · A· · Yes, sir.

23· · · · Q· · Um, and this document was signed, um,

24· "April 10, 2023", the same date as the Handbook --

25· Handbook Acknowledgment was signed, correct?


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·1· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·2· · · · answer.

·3· · · · A· · No, sir.

·4· · · · Q· · Are you saying they were signed on

·5· different days?

·6· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·7· · · · answer.

·8· · · · A· · That's all I can recall that I had signed.

·9· · · · Q· · Excuse me?· What'd you say?

10· · · · A· · That's all -- that's the only documents I

11· can -- I can recall I signed.· The, um -- that

12· document, and the, um, and -- and there was another

13· document too.· But I never -- I never seen the -- that

14· Employee Handbook document.

15· · · · Q· · All right.· One second.· All right.· Madam

16· Court Reporter, I'd like to mark that one as "Defense

17· Exhibit", um, "2".· I'm gonna share my screen again.

18· Are you able to see this document?

19· · · · A· · Yes, sir.

20· · · · Q· · Um, do you remember seeing -- do you

21· remember, um -- is this your sig -- excuse me.

22· Scrap -- or strike that.· Is this your signature at

23· the bottom?

24· · · · A· · Yes, sir.

25· · · · Q· · Do you remember signing this document?


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·1· · · · A· · Yes, sir.

·2· · · · Q· · Um, stating that you received the New Hire

·3· Packet?

·4· · · · A· · No.· I'm -- I'ma be honest here.· When I

·5· went into Ryan's room, he was -- he was -- he was

·6· completely -- he was -- he was sleep.· He wasn't

·7· sleep, but he was -- he was getting ready to go to

·8· sleep and whatnot.

·9· · · · · · ·And he just hand -- handed -- he handed me

10· three papers and just told me to sign it.· And -- and

11· I -- I gave him my bank information.· That was it.· He

12· didn't go over me with nothing.

13· · · · Q· · But this is your signature at the bottom,

14· correct?

15· · · · A· · Yes, sir.

16· · · · Q· · Saying that you acknowledge receipt of the

17· New Hiring Package?

18· · · · A· · Yes, sir.

19· · · · Q· · So did you read the documents that came

20· with the New Hiring Package?

21· · · · A· · No.· He just -- he told me to just sign.

22· · · · Q· · One second.· All right.· I'd like to mark

23· that as "Defense Exhibit", um, "3".

24· · · · · · ·MR. BARROUKH:· Excuse me, Arthur.· Is it

25· · · · all right if we take a two minute break?· I just


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·1· · · · need to run to the restroom quickly.

·2· · · · · · ·MR. JONES, III:· Yeah.· That's fine.

·3· · · · · · ·MR. BARROUKH:· Okay.· Um --

·4· · · · · · ·MR. JONES, III:· Ten?

·5· · · · · · ·MR. BARROUKH:· I don't need ten minutes.               I

·6· · · · really just need a minute or two.· Um, Alonzo,

·7· · · · would you like a longer break?

·8· · · · · · ·THE WITNESS:· Um, yes.· Can you -- can you

·9· · · · give me 'bout ten minutes?

10· · · · · · ·MR. BARROUKH:· Okay.

11· · · · · · ·MR. JONES, III:· Yeah.· That's fine.

12· · · · · · ·MR. BARROUKH:· Arthur, is that okay with

13· · · · you?

14· · · · · · ·MR. JONES, III:· Yeah.

15· · · · · · ·MR. BARROUKH:· Thank you.· We'll be back at

16· · · · 11:17.

17· · · · · · ·MR. JONES, III:· All right.

18· · · · · · ·MR. BARROUKH:· Thank you.· Off the record.

19· · · · · · ·(Thereupon, a break was taken)

20· · · · · (Thereupon, all of the participants

21· · · · · · · returned back from the break)

22· · · · · · ·MR. BARROUKH:· Alonzo, are you ready to go

23· · · · back on the record?

24· · · · · · ·THE WITNESS:· Yes, sir.

25· · · · · · ·MR. BARROUKH:· Okay.· Mr. Jones, whenever


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·1· · · · you're ready?

·2· BY MR. JONES, III:

·3· · · · Q· · One second.· So, you stated that, um, you

·4· hadn't read the -- the Employee Handbook?

·5· · · · A· · No, sir.

·6· · · · Q· · Um, were you aware of any of the avenues in

·7· the Employee Handbook regarding, um, issuing a

·8· complaint, or -- or submitting a complaint?

·9· · · · A· · No, sir.

10· · · · Q· · Um, and for this, um, position, did you

11· attend any type of, um, training or orientation?

12· · · · A· · No, sir.

13· · · · Q· · Was there anybody on the job who, um, kinda

14· personally trained you?

15· · · · A· · Um, no, sir.

16· · · · Q· · All right.· Now, um, who were your

17· supervisors, um, at the time of your employment with

18· Southern Road?

19· · · · A· · Um, just Ryan Witt.

20· · · · Q· · And he was, um, your supervisor from the

21· time you started?

22· · · · A· · Correct.· Yes, sir.

23· · · · Q· · Now did you, um, personally get along with

24· Mr. Witt?

25· · · · A· · Yes, sir.


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·1· · · · Q· · Um, how often would you, I guess, interact,

·2· or come in contact with him at the job?

·3· · · · A· · Um, I -- I'll say about, umm -- he'll come

·4· to the job maybe once a -- once a week, if that.

·5· · · · Q· · And would he, I guess, stay out there the

·6· whole day?

·7· · · · A· · No.· He don't -- he don't stay.· He's --

·8· he'll -- he'll come in 'bout 15, 20 minutes and leave.

·9· · · · Q· · And before the, um, allegations that you

10· made in the complaint, did you have any, um, previous

11· issues with, um, Mr. Witt?

12· · · · A· · No, sir.

13· · · · · · ·MR. BARROUKH:· Objection to form.· You can

14· · · · answer.

15· · · · · · ·THE WITNESS:· No, sir.

16· BY MR. JONES, III:

17· · · · Q· · Um, would you say that he was, um, a fair

18· supervisor?

19· · · · · · ·MR. BARROUKH:· Objection to form.· You can

20· · · · answer.

21· · · · A· · At the -- at -- at the beginning, yes, sir,

22· he was.

23· · · · Q· · Um, and when did you -- when did you, I

24· guess, come to the realization or decide, um, that

25· Mr. Witt wasn't being fair?


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·1· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·2· · · · answer.

·3· · · · A· · It was, I believe, prior to July -- after

·4· July the 4th.· No.· Before July the 4th when we

·5· went -- when we went on, um, vaca -- um, vacation.

·6· · · · Q· · And what happened?· What happened July the

·7· 4th?

·8· · · · A· · We all -- we all complained about our

·9· hours.· We was missing about 13 hours of overtime.

10· · · · Q· · Now you said -- now when you say,

11· "Everybody complained"; who is -- who is "everybody"?

12· · · · A· · Me; Nicholas Ford; Desmond Jones; um,

13· Pollo; Isaac; and it was -- it was another -- it was

14· another guy.· I for -- I forgot his name.

15· · · · Q· · Who was the person you said after "Desmond

16· Jones"?

17· · · · A· · Um -- um, Isaac; and Pollo; and Nicholas

18· Ford.

19· · · · Q· · Now who did you complain to about this, um,

20· grievance you had about regarding your hours?

21· · · · A· · Um, to Ryan Witt.

22· · · · Q· · And when was this?

23· · · · A· · Um, be -- like I say, it was before -- um,

24· I -- I believe it was like July the 2nd or maybe the

25· 3rd.


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·1· · · · Q· · And did you have this conversation -- how

·2· did you have the conversation with him?

·3· · · · A· · Um, Isaac -- Isaac had him on -- um, called

·4· him on the phone, and had him on speakerphone.

·5· · · · Q· · And what -- who was doing the talking

·6· during this conversation?

·7· · · · A· · Isaac and Ryan Witt.

·8· · · · Q· · And what did Isaac say?

·9· · · · A· · He -- he was complaining -- he was

10· complaining 'bout our hours, and that we missing --

11· everybody was missing 13 hours of overtime.

12· · · · Q· · Now what did Mr. Witt say, um, when you all

13· complained of the overtime?

14· · · · A· · Um, he -- he, um -- he said he was gon' --

15· he was gon' fix it; and that -- that the 13 hours

16· owed, it was gon' be on the next check.

17· · · · Q· · And you say this was sometime in the --

18· before the July 2nd time frame?

19· · · · A· · This -- yes, sir.· This -- this was on our

20· way -- this was on our way back to Texas.

21· · · · Q· · And I just wanted to back up briefly.

22· Where did you go to, um -- where did you go on

23· vacation to?

24· · · · A· · Um, we all went home.· Back to Texas.

25· · · · Q· · And how long were you gone?


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·1· · · · A· · Um, 'bout four days.

·2· · · · Q· · So you're saying when you returned from the

·3· vacation is when you started -- um, or excuse me.

·4· When you returned from the vacation is when I guess

·5· you decided that, um, Mr. Witt wasn't being fair to

·6· you all?

·7· · · · A· · Correct.

·8· · · · Q· · Now when you said that Mr. Witt, um, said

·9· that he was going to, I guess, fix the discrepancy

10· and -- and pay you guys for the hours, um, on the next

11· check; what happened after -- after that?

12· · · · A· · Could -- could -- could I go back?· Could I

13· go back and -- go back to -- to that --

14· · · · Q· · Yeah.

15· · · · A· · -- um, what you was asking about I

16· wasn't -- I wasn't treated -- being treated fair?

17· Well, um, my mom had passed away June -- June -- June

18· the 11th of 2023, and we asked Ryan, "Can we have the

19· time off?"· And he said, "Yes".· Days after that, um,

20· he called us during my mom's service and told us we

21· need to come back.

22· · · · Q· · All right.· Now, um --

23· · · · A· · Um, Ryan Witt.

24· · · · Q· · -- and how did you -- how did you request

25· it?


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·1· · · · A· · Well, he already knew my mom -- my mom had

·2· cancer and whatnot.· And it -- it was gon' be -- it

·3· was gon' come to that time.· So when that time came,

·4· um, you know, we asked him, "Hey, can -- can we have

·5· time off to -- to go to my mom's, um -- you know, and

·6· be with -- be with -- be with family?"

·7· · · · · · ·And he said -- he said only one of us can

·8· go; so Nick, my -- my brother, went.· My brother went

·9· that day, and I -- I left probably about two -- two or

10· three days later for her service.

11· · · · Q· · So was your -- your time approved off by

12· Mr. Witt?

13· · · · A· · Yes, sir.

14· · · · Q· · Now when you said that you, um, made the

15· request to him; how did you make that request?· Like

16· was it in -- did you make any -- any type of request

17· in writing, or was it just verbal?

18· · · · A· · Um, verbal.

19· · · · Q· · Um, are you aware of the policy, um,

20· regarding, um, requesting time off?

21· · · · A· · From -- from what I was told from Ryan

22· Witt, he told me that if a -- a grand -- um, a parent

23· died, or a grandparent died, we should have a whole

24· week off.

25· · · · Q· · What I'm talking about is the, um, policy


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·1· regarding actually submitting, um, the request for the

·2· day -- for the time off.· Do you have to send it to --

·3· send in a, um, written request or anything like that,

·4· that has to be approved?· Or could you kind of explain

·5· --

·6· · · · A· · Sorry about that.

·7· · · · Q· · Naw.· You're good.· Um, I was just gonna

·8· say, "Could you kind of explain the process, um, on

·9· how you guys are supposed to formally request time

10· off"?

11· · · · A· · Um, like I said, we just called -- called

12· Ryan Witt.· We never had the num -- we never had

13· numbers to HR or --

14· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

15· · · · reporter requests clarification).

16· · · · · · ·THE WITNESS:· Oh.· Um, we -- we never had

17· · · · contact with HR or nobody at the company.· Only

18· · · · Ryan Witt.

19· BY MR. JONES, III:

20· · · · Q· · So you would nev -- never submit any type

21· of documentation or anything to be -- for your request

22· to be approved to Mr. Witt?

23· · · · · · ·MR. BARROUKH:· Objection to form.· You can

24· · · · answer.

25· · · · A· · It was just -- it was only verbally.


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·1· · · · Q· · I wanna kinda go back to what we were, um,

·2· discussing before regarding the, um, complaining of

·3· the -- the overtime.· Um, now you said that -- when we

·4· left off, you said that Mr. Witt, um, was -- stated to

·5· you all that he was gonna correct the discrepancy in

·6· that 13 hours.· Um, do you recall what happened after

·7· that?

·8· · · · A· · No.· Just they just had a -- um, Isaac and

·9· him had a phone call and whatnot; and -- and then

10· that -- um, and then that -- that following week, they

11· did put that -- the money that -- I mean, that 13

12· hours on our paycheck.· But it wasn't overtime.

13· · · · Q· · So did you talk to anybody else after that

14· --

15· · · · A· · -- no, sir.· Only Ryan Witt.

16· · · · Q· · Did you have another conversation after

17· when you said that the time that they put on wasn't

18· correct?

19· · · · A· · No, sir.

20· · · · Q· · Did you talk to anybody about the time

21· that -- excuse me.· Did you talk to anybody regarding

22· the time that wasn't correct after it was fixed?

23· · · · A· · Um, no, sir.· I -- when we -- when we, um

24· -- um, do our names and everything; um, Isaac, he --

25· he -- he -- he had our -- he the -- he the one who


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·1· fill -- filled all that out.

·2· · · · Q· · But what I was asking is that, "You didn't,

·3· um, make any other additional complaints to anyone

·4· after Mr. Witt told you, um, that the time was put

·5· back on there, and you're stating that it wasn't

·6· correct"?

·7· · · · A· · Yes, sir.· I -- I don't -- that's the only

·8· person I spoke with, was Ryan Witt.· That we all spoke

·9· to.

10· · · · Q· · And you said that there was a, um, group

11· phone call, um, that happened in July when you brought

12· this to his attention.· Did you have any other

13· conversations with anybody else regarding this issue?

14· · · · A· · No.· Like I said, we was all in the truck,

15· and we all was going over our hours; and -- and we

16· noticed that it wasn't correct.· And we went over it,

17· and how many hours that we worked; and we noticed we

18· was missing 13 hours overtime.

19· · · · Q· · And do you have any other issues, um, with

20· Mr. -- Mr. Witt as your supervisor?

21· · · · A· · Yes, sir.· Af -- after that, um, he -- like

22· I said, sometimes, like he'll come once or twice a

23· week, and he would show us -- show us these pictures

24· of these women and whatnot.

25· · · · · · ·And -- and he started saying -- saying


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·1· things that -- that me and -- me and my brother

·2· didn't -- wasn't -- wasn't -- wasn't -- I -- I can't

·3· explain the words.· But it was something that we

·4· didn't wanna hear.

·5· · · · Q· · All right.· Now you said that, "He would

·6· show up once or twice a week and show you pictures of,

·7· um, women".· What -- when did he, I guess, begin

·8· doing -- doing that?

·9· · · · A· · Like I said, I can't -- I can't recall.

10· But like I said, he -- he would come usually once or

11· twice a week, and he -- he would show -- show us

12· pictures that -- these girls that he -- he dated

13· and -- and whatnot.

14· · · · Q· · And what were the -- the pictures of?· Um,

15· just of women that he would --

16· · · · A· · Yeah.· Yeah.· Um, yeah.· Yes, sir.· And

17· what they looked like.· And -- and then he was, um,

18· trying to hook us -- hook me and my brother up with

19· a -- with this -- with this chick in the hotel.· That

20· she worked at the hotel; and he was dating her.

21· · · · Q· · Now the pictures that you're saying he

22· showed you, were they inappropriate in any way?

23· · · · A· · Yes, sir.

24· · · · Q· · Were they -- how were they inappropriate?

25· · · · A· · Um, showing women, um, they butt, and


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·1· showing they -- they breasts.

·2· · · · Q· · What did he -- what did he say when he, um,

·3· showed you these pictures?

·4· · · · A· · Well, one particular picture was about the

·5· girl that was at the hotel Ryan Witt was dating; and

·6· he would -- he would tell us, um, "Man, y'all can --

·7· y'all can bang her with y'all big black cock".

·8· · · · Q· · And who did he -- who did he say this to?

·9· · · · A· · Me and Nicholas.· And everybody --

10· everybody from the -- from me; Nicholas; and Isaac;

11· and Pollo.

12· · · · Q· · So he said it to -- to you; Nicholas; Is --

13· Isaac; and Pollo?

14· · · · A· · Um, Pollo, yes, sir.

15· · · · Q· · And where were you all at when he said this

16· to you?

17· · · · A· · Um, we -- we was -- we was at the, um --

18· we -- we weren't on-site.· We was at the, um -- at the

19· yard at the time.· The work yard.

20· · · · Q· · Can you explain a little bit about, um, I

21· guess that setup?· Like how the work yard is different

22· from --

23· · · · A· · Um, they all have, um, all our -- all our,

24· um, equipment there and whatnot.· All our trucks; and

25· trailers; and -- and -- and material.


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·1· · · · Q· · So, when he approached, um, you four

·2· individuals and said the statement that you said, and

·3· showed you the pictures, um, was there anyone else

·4· around at the time?

·5· · · · A· · It was -- it was just us and the, um -- it

·6· was -- it was another guy, but I for -- I forgot his

·7· name.· His name was, "Red".

·8· · · · Q· · And, typically, how many people, um, are

·9· at -- like the whole team, how many people are at a

10· specific jobsite at one time?

11· · · · A· · At -- at the beginning, it was just me;

12· Nicholas; Isaac; Pollo; and -- and Desmond; and Red.

13· And -- but after months going on, it -- it -- it was

14· some more guys that had showed up.

15· · · · Q· · Approximately, I guess, around this time,

16· how many people would you say were working -- were

17· working at the site?

18· · · · A· · I'll say about six.· Six, seven.

19· · · · Q· · Now you -- you're saying that he came up

20· and, um, showed you four individuals this picture.

21· Um, what did you all -- or excuse me.· What did you

22· say after -- when he showed you the picture?

23· · · · · · ·MR. BARROUKH:· Objection to form.· You can

24· · · · answer.

25· · · · A· · You know, I -- I just -- I just said,


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·1· "Okay".· And just -- just looked at it and said,

·2· "Okay"; and went on 'bout my business.

·3· · · · Q· · Um, did anybody else say or do anything?

·4· · · · A· · Everybody just went on -- we was just

·5· laughing about it; and we walked off, and went on --

·6· went on about our work.

·7· · · · Q· · Now you also said that, um, Mr. Witt said

·8· that he could hook you up with some woman, I guess,

·9· that he was dating in the hotel.· When did he say

10· that?

11· · · · A· · This was around -- let me see.· Probably

12· like around October of 2023.· 'Cause we -- we was in

13· two -- two different hotels at the time.· We moved two

14· locations, different hotels.

15· · · · Q· · And what do you mean by that when you say,

16· "You moved to different locations"?

17· · · · A· · Um, from -- from 'bout like four months, we

18· was at the -- at the Hilton Hotel; and then we moved

19· to some -- some kinda -- some other hotel probably two

20· miles down from there.

21· · · · Q· · Did everyone move to the same hotel?

22· · · · A· · Yes, sir.

23· · · · Q· · All right.· So this happened in around

24· October 2023.· What happened when -- when this

25· incident happened?


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·1· · · · A· · Well --

·2· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·3· · · · answer.

·4· · · · · · ·THE WITNESS:· Well, when that happened,

·5· · · · Ryan -- we didn't know Ryan had moved -- moved

·6· · · · out to a hotel, to another hotel in -- in

·7· · · · another location; and he called me and my

·8· · · · brother and asked us about this girl at the

·9· · · · hotel and whatnot.

10· · · · · · ·And me and my brother, you know, we never

11· · · · seen the girl except whenever he sent the --

12· · · · he -- he showed us the picture; and everybody

13· · · · got into it and whatnot; and the girl got

14· · · · pregnant by Ryan -- by Ryan Witt.· And Ryan --

15· · · · Ryan was upset with me and my brother, because

16· · · · we was trying to figure out what was going on.

17· · · · We didn't have no idea.

18· BY MR. JONES, III:

19· · · · Q· · So when you're saying, "That he came and

20· called you and your brother".· Was this like a -- was

21· it a three-way call, or how did that happen?

22· · · · A· · Yes, sir.· It was a three-way call.

23· · · · Q· · And what was the conversation, I guess,

24· about, um, at that time?

25· · · · A· · He -- he asked us, "Hey, um, who's been --


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·1· who's been talking -- talking to that chick, that

·2· black chick up there at the hotel?"· We was like,

·3· "We -- we don't even know what you talking about".

·4· · · · · · ·'Cause we walked in -- when we get off from

·5· work in the morning -- um, in the morning, we go right

·6· to our rooms and whatnot.· We never -- we never seen

·7· her personally.

·8· · · · Q· · So, when he asked you about the woman, what

·9· did you and your brother, I guess, say or do at that

10· time?

11· · · · A· · At -- at -- at that time, we -- we -- we

12· was trying to figure out what was going on; and I

13· guess the girl that worked that they -- it was two

14· girls that worked together, but one of 'em knew my

15· brother.

16· · · · · · ·And she asked -- she asked him -- she asked

17· her and whatnot, and she -- that -- that other girl

18· got my number, and she was like, "What's going on?"

19· And, um, I was like, "Ryan's accusing us of coming and

20· trying to talk to you and whatnot".

21· · · · · · ·And -- and, um, she said that, "Ryan got

22· her pregnant, and that's why he moved hotels; and he's

23· lying".· He -- he -- she said, "He's lying about

24· everything".

25· · · · Q· · All right.· So, um, was the -- what was the


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·1· issue that you had exactly with this incident as far

·2· as him, um, saying that he could hook you up with some

·3· woman at the hotel?

·4· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·5· · · · answer.

·6· · · · A· · Could you -- could you repeat that again?

·7· · · · Q· · I said, "What issue did you" -- um, "What

·8· issue did you have regarding this situation dealing

·9· with the, um, woman with the -- um, the woman that

10· worked in the hotel"?

11· · · · · · ·MR. BARROUKH:· Objection to form.· You can

12· · · · answer.

13· · · · A· · For one, I was -- I was -- I was -- I was

14· en -- I mean, I was engaged at the time, and I didn't

15· wanna have no part of it.· And, um, like I said, it

16· was -- he -- he was accusing me and my brother of --

17· of doing these things; and -- and we didn't -- we

18· didn't have no -- we didn't have no reco -- like we

19· had no idea what was going on.

20· · · · Q· · Now did you and your brother report this

21· issue -- these two issues that we talked about to

22· anyone?

23· · · · A· · We didn't know who to -- we didn't know who

24· to report it to.· Like I said, we hadn't -- we had

25· no -- no number to HR, or to anybody at the -- the


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·1· company.

·2· · · · Q· · Did you attempt to -- did you -- did you

·3· ask anybody?

·4· · · · A· · Um, no, sir.· They didn't -- they didn't

·5· have the number neither.

·6· · · · Q· · Well, are you saying that you didn't ask?

·7· Or what -- did you ask?

·8· · · · A· · Yeah.· We -- like I said -- didn't know who

·9· to ask.

10· · · · Q· · So you're saying that you didn't ask

11· anybody for the number to HR?

12· · · · A· · No, sir.

13· · · · Q· · Now did you ever tell anyone else about the

14· situations, um, with Mr. Witt?

15· · · · A· · Oh, yeah.· Isaac; Pollo; and, um, Jojo.

16· He -- they -- they all -- they all knew about the

17· situation.

18· · · · Q· · Um, now did you ever have any other issues,

19· um, with Mr. Witt after this time?

20· · · · A· · No.· It was just -- like I said, it was

21· just the -- just the sexual harassment, and -- and --

22· and the -- and the -- the hours and all that.

23· · · · Q· · Did you ever see, um, Mr. Witt outside of

24· work?

25· · · · A· · Yes, sir.


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·1· · · · Q· · Um, and what were the -- when did you see

·2· him out -- outside of --

·3· · · · A· · Um, like I said, um, us -- um, usually, I

·4· go exercise or whatnot.· And when -- um, I don't know

·5· if he saw me, or he seen -- um, or I -- um, I know I

·6· saw him; but he'll be out driving around.

·7· · · · Q· · Did you ever have any type of interactions

·8· with him outside of work?

·9· · · · A· · No, sir.

10· · · · Q· · Um, now we talked about it a little bit

11· before; but I kinda wanna, um -- um, go back over

12· the -- the coworkers, um, that you had.· So you said

13· it was like six individuals, um, working there at the

14· time?

15· · · · A· · Yes, sir.· But it was like -- at -- but

16· after that -- um, I believe after July, it was more --

17· more people had came in.· Two -- two -- um, Desmond

18· Jones, he -- he had left 'cause he was -- due to

19· the -- the discrimination or whatnot; he -- he left

20· and, um, they -- they brought in two other guys.

21· · · · Q· · Do you know what their names were?

22· · · · A· · Um, Jojo; and -- like I said, everybody had

23· nicknames.· Um, Jojo; and it was two other of Isaac

24· friends.

25· · · · Q· · Now could you kinda, um, just a little bit


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·1· kinda describe the -- the setup as far as, um, the

·2· interaction that you had with your, um, other

·3· coworkers?

·4· · · · · · ·Um, it's my understanding that you all

·5· stayed at the same hotel.· Would you all, um, you

·6· know, all get up at the same time?· Or could you kinda

·7· like, you know, just describe how that setup was?

·8· · · · · · ·MR. BARROUKH:· Objection to form.

·9· · · · Compound; vague and ambiguous.· If -- if you

10· · · · know; you can answer.

11· · · · A· · Yeah.· I -- we -- we would just -- we all

12· stayed in the same hotel and whatnot.· It was next

13· door to each other pretty much.

14· · · · Q· · So, all of the individuals, um, who worked

15· at the site just kind've stayed within the same

16· vicinity at the hotel?

17· · · · A· · Yes, sir.

18· · · · Q· · Now, um, did you all -- um, how often would

19· you all interact with each other throughout the day?

20· · · · A· · Um, pretty -- pretty much, um, all -- all

21· the time, until everything just got -- everything just

22· started going down hill.

23· · · · Q· · And what do you -- well, now I guess with

24· these -- with these individuals, um, do you all have

25· interactions outside of work?


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·1· · · · A· · Yeah.· Like we'll -- we'll go hang out at

·2· the pool; and -- and hang -- um, hang out and -- and

·3· whatnot.· But like I said, after the -- prior to

·4· like -- um, probably to like three or four months

·5· after everything's going; we just split up and went

·6· our different ways and whatnot.· But we still work

·7· together.

·8· · · · Q· · Do you have any issues, um, with any of the

·9· coworkers that you had?

10· · · · A· · Yes, sir.

11· · · · Q· · Um, and what -- what issues did you have?

12· · · · A· · They kept use -- they kept on using the "N"

13· word.· And when me and my brother confronted 'em about

14· it, they get mad.

15· · · · Q· · And who -- who -- do you know who

16· specifically was --

17· · · · A· · Um, Isaac --

18· · · · Q· · --

19· · · · A· · -- um, Isaac; and Pollo; and -- and Jo --

20· um, Jojo too.· 'Cause when -- when we was leaving --

21· when we was leaving Florida and going back to Texas,

22· whatnot; um, he told me -- Jojo told me, "Well, you --

23· you can't drive, 'cause it's nothing but Mexicans; and

24· the police pull us over, they'll see a black guy, we

25· all going to jail".


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·1· · · · Q· · And these are, um, your coworkers who said

·2· this?· That was Pollo and Jojo?

·3· · · · A· · Correct.· And Isaac.

·4· · · · Q· · And did you tell anybody about this, um --

·5· this incident with them using the "N" word?

·6· · · · A· · Um, yes, sir.· Um, during that time, Ryan

·7· Witt had gave me a -- um, gave me a call; and he said,

·8· "I just spoke to your brother, and he told me that he

·9· feel like he being discriminated against".· Um --

10· um -- um, being -- he -- he, um, being discriminated

11· against us two.

12· · · · · · ·And that's -- that was when we actually

13· spoke, I guess, to Lucas.· 'Cause, um, I guess my

14· brother got ahold of HR, and the, um -- and Lucas

15· Pappas.

16· · · · Q· · And when Ryan -- when Ryan approached you

17· or reached out to you and had that conversation; um,

18· what did you say to him?

19· · · · A· · I told him -- I told him, "Yes".· "We" --

20· um, "I feel like we being discriminated against".               I

21· said, um, "When all the -- the other black guys was

22· here, we couldn't go to lunch".

23· · · · · · ·"But when they -- when all the other

24· Mexican guys came, they can go to -- they can go to

25· lunch; they can take bathroom breaks; they can go


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·1· to -- they can -- they can have lunch before work or

·2· whatnot; and they didn't -- they didn't allow us to

·3· drive -- drive the trucks at all".

·4· · · · Q· · And when was this that you had -- when --

·5· or what time was -- or time frame did you have this

·6· conversation with Mr. Witt regarding this?

·7· · · · A· · Like around October.

·8· · · · Q· · What would he, um, say or do in response

·9· when you told him that?

10· · · · A· · Um, in text messages, he -- he got -- um, I

11· have, um, where he said that we gon' have a meeting

12· whenever -- we -- we all will have a meeting when

13· you -- when you guys get back.

14· · · · Q· · And did you all have the meeting?

15· · · · A· · No, sir.

16· · · · Q· · Did you talk to anybody else about this

17· matter?

18· · · · A· · No, sir.· 'Cause they had -- Ryan -- Ryan

19· said that he will -- he will fix everything, and

20· get -- we will have a meeting; and -- and that never

21· happened.

22· · · · Q· · Did he do anything else regarding, um, this

23· incident?

24· · · · A· · No, sir.· Because that's when -- that's

25· when the time that he had moved hotels and whatnot.


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·1· · · · Q· · And you mentioned that your brother, um,

·2· was able to get ahold of HR.· Around what time was

·3· that?

·4· · · · · · ·MR. BARROUKH:· Objection to form.· If you

·5· · · · know; you can answer.

·6· · · · A· · 'Bout 'round the same time, um, Ryan called

·7· me and asked us about -- about the discrimination

·8· that's going on.· 'Cause my bro -- 'cause my brother,

·9· he had left the hotel; he -- and then, um, he -- he

10· started staying -- he started staying, um, by hisself.

11· · · · · · ·Because, um -- because of Isaac had

12· called -- called him about it and wanted to fight,

13· because he -- 'cause my brother called HR.· We also --

14· I also have that in text messages too.

15· · · · Q· · Well, at some point when your brother got

16· the contact information to HR, did you, um, at that

17· time get the information as well?

18· · · · A· · Yes, sir.

19· · · · Q· · Did you call and report, um, the incident

20· regarding, um, the issues that you were having with

21· Mr. Witt regarding the, um, trying to hook you up

22· with, um, someone at the hotel?

23· · · · · · ·MR. BARROUKH:· Objection to form.· You can

24· · · · answer.

25· · · · A· · No.· Um, no, sir.· I had called 'em 'cause


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·1· it was about -- it was 'bout the -- it was 'bout the

·2· hours; and it was 'bout how Ryan was treat -- um, was

·3· treating us and everything about the discrimination.

·4· · · · · · ·I never brought -- I never brought that

·5· to -- to they attention because they was trying to --

·6· they was trying to resolve the pay situation and

·7· whatnot.· They was trying to get me and my brother to

·8· meet up with 'em at 9:30 at night to go over our pay.

·9· And the discrimination.

10· · · · Q· · All right.· Um, now regarding this

11· position, um, that you had with Southern Road, did you

12· have any -- did you receive any type of performance

13· evaluations for your job?

14· · · · A· · No, sir.· Never got written-up neither.

15· · · · Q· · Um, did you ever have any type of issues

16· with your -- excuse me.· Um, strike that.· Did your

17· supervisors ever have any issues with you regarding,

18· um, your job performance or conduct --

19· · · · · · ·MR. BARROUKH:· Objection.

20· · · · · · ·MR. JONES, III:· -- at the job?

21· · · · · · ·MR. BARROUKH:· I'm sorry.· Objection to

22· · · · form.· If you know; you can answer.

23· · · · · · ·THE WITNESS:· Could you -- could you repeat

24· · · · that, please?

25· BY MR. JONES, III:


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·1· · · · Q· · Did your supervisors ever, um, express to

·2· you any issues that they had regarding your

·3· performance on the job?

·4· · · · A· · No, sir.

·5· · · · Q· · So, is it your testimony that you never had

·6· any type of disciplinary or performance, um,

·7· evaluations while you were working there?

·8· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·9· · · · answer.

10· · · · A· · No, sir, I didn't.· Except for the --

11· the -- maybe, um, not -- not about my performance.

12· But, um, whenever I -- whenever I had left, he just

13· told me I was -- um, I was fired, um, for no reason.

14· · · · Q· · Now the whole time you were there, did you

15· ever receive any type of verbal counseling; or

16· coaching; or anything like that?

17· · · · A· · No, sir.

18· · · · Q· · All right.· One second.· All right.· Are

19· you able to, um, see this document?

20· · · · A· · Yes, sir.

21· · · · Q· · Um, was this the Employee Termination Form

22· that you were talking about, um, regarding, um, your

23· termination?

24· · · · A· · Um, no, sir.· I never seen that before.· Um

25· Ryan called me when I was getting off the plane --


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·1· well, he didn't call me.· He sent me a text message

·2· and told me, um, I was fired.

·3· · · · Q· · And you said that you were -- he called you

·4· when you were on your way to a plane -- going on a

·5· plane.· Where were you -- where were you going to at

·6· that time?

·7· · · · A· · Um, I was going -- I was going home.· Like

·8· I asked him -- I asked him, "Could I take off?"· And

·9· he said -- he said, "Yes".· Because like I said, we --

10· we was all getting in a fight, and Isaac was threaten

11· -- threaten to -- threatening to beat me up and

12· whatnot.

13· · · · · · ·And I told Ryan, "Hey, I need some" -- "I

14· need time off".· And he said, "Okay".· And as soon as

15· my plane landed, I opened up my phone, he said I was

16· terminated.

17· · · · Q· · So you're saying that you requested time

18· off, and he, um, approved this; is that correct?

19· · · · A· · Correct.

20· · · · · · ·MR. BARROUKH:· Objection to form.

21· · · · Objection to form.· You can answer.

22· · · · · · ·THE WITNESS:· That's correct.

23· BY MR. JONES, III:

24· · · · Q· · Did you submit any type of paperwork, or

25· any requests, um, regarding this time off?


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·1· · · · A· · Like I said, we didn't -- um, I never seen

·2· no paperwork.· When we -- when we all request time

·3· off, we call Ryan, and -- and he say -- he say "yes"

·4· or -- "yes" or "no".

·5· · · · Q· · And how much time did you request off?

·6· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·7· · · · answer.

·8· · · · A· · To the prior -- to the prior incident, or

·9· --

10· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

11· · · · reporter requests clarification).

12· · · · · · ·THE WITNESS:· Can I answer this, or -- or

13· · · · to -- or to different -- or -- or to this -- um,

14· · · · for this incident?

15· BY MR. JONES, III:

16· · · · Q· · Yeah.· For this -- for this specific

17· instance, how many, um -- or like -- yeah.· How long

18· did you request off?· Like how many days?

19· · · · A· · Um, three days.

20· · · · Q· · And what day -- do you remember what days

21· like of the week this was?· Um, did you request off --

22· · · · A· · No.

23· · · · Q· · -- like Friday and Saturday?· Like do you

24· remember the days?

25· · · · A· · Um, I -- I -- 'cause we was in -- I was


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·1· in -- we was coming back -- we was working in Orlando,

·2· and we -- we was on our way back to Destin, Florida.

·3· And like I said, um, that's when Isaac -- Isaac

·4· started threatening me because that's when I

·5· complained to HR and whatnot.

·6· · · · · · ·And, um -- and then the guys; when -- when

·7· we was supposed to go to work, it was like, "Be

·8· downstairs in the truck by 5:00".· And we never left

·9· at 5:00, we always leave at six.

10· · · · · · ·So they changed up the time, and, um, I

11· didn't go to work that day; and so that day, I -- I

12· didn't go to work.· I believe it was a -- a Tuesday.

13· And then Wednesday, that's when I asked Ryan can I

14· have time off.

15· · · · Q· · And at that point, so -- strike that.· When

16· you were, um, notified of the termination, were you,

17· um, told the reason for the termination?

18· · · · A· · No, sir.

19· · · · Q· · Um, did anybody else reach out to you

20· regarding the -- this issue?· Or this --

21· · · · A· · No, sir.

22· · · · Q· · So, the only person you talked to regarding

23· this was, um -- was Ryan Witt?

24· · · · A· · Correct.· Correct.

25· · · · Q· · Was there anybody else around, um, when he


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·1· told you about this?

·2· · · · A· · No, sir.· It was -- it was -- it was

·3· through a text message.

·4· · · · Q· · Okay.· And what did you -- now when

·5· Mr. Witt told you that you were, um, terminated; what

·6· did you say at that time?

·7· · · · A· · I just -- I -- I just -- I don't -- um, I

·8· believe I put, "Okay"; and that was it.

·9· · · · Q· · All right.· One second.· Um, Madam Court

10· Reporter, I'd like to mark that as "Defense Exhibit",

11· um, "5".

12· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

13· · · · reporter informed Mr. Jones that he was on

14· · · · number four).

15· · · · · · ·MR. JONES, III:· Oh.· "4".· Sorry.· Are you

16· · · · able to see this, um, document, sir?

17· · · · · · ·THE WITNESS:· Yes, sir.

18· BY MR. JONES, III:

19· · · · Q· · Um, would this be, um, a copy of your

20· payroll records, um, with Southern Road at the time

21· that you were employed there?

22· · · · · · ·MR. BARROUKH:· Objection to form.· You

23· · · · could answer.

24· · · · A· · To be honest, I can't really -- I can't

25· really tell you, because they was writing our -- they


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·1· was writing our names down.· They -- my name was

·2· incorrect; and they was filling -- they was filling

·3· my -- they was filling out my signature on the -- on

·4· the pay -- um, on the, um -- on the, um, clock in

·5· sheet.· I have a picture of that also.

·6· · · · Q· · So you're saying you don't know what this

·7· document is?

·8· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·9· · · · answer.

10· · · · A· · Oh, I know what the document is.· But like

11· I said, I don't know if the number is correct.

12· · · · Q· · Now do you recall the, um -- the specific

13· pay period that you are saying that your check was --

14· or your hours were short or missing?

15· · · · A· · The pay period was, um --

16· · · · · · ·MR. BARROUKH:· Objection to form.· You can

17· · · · answer; if you know.

18· · · · · · ·THE WITNESS:· The pay period -- 'cause, um,

19· · · · we had -- we got paid every week.

20· BY MR. JONES, III:

21· · · · Q· · Do you remember what month it was in?

22· · · · · · ·MR. BARROUKH:· Objection to form.· You can

23· · · · answer; if you know.

24· · · · A· · The month of, um, what was in?

25· · · · Q· · Um, the week that you said that, um, there


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·1· was 13 hours short on your paycheck?

·2· · · · A· · Yeah.· That was in Ju -- that was in July.

·3· · · · Q· · Now looking at this; do you see this column

·4· where it shows the hours that you worked?· Are you

·5· able to see that?

·6· · · · A· · Yes, sir.

·7· · · · Q· · And then you see over here where it shows

·8· like a period?· For example, this one says from "July

·9· 3rd, 2023" to "July 9th, 2023"?

10· · · · A· · Yes, sir.

11· · · · Q· · So based off of this chart showing the,

12· um -- and then there's -- I guess there's another one.

13· This one also in July.· But this is showing the weeks

14· from July, and the hours you worked.· Do you know

15· which, um, I guess pay period where you alleged that

16· there was 13 hours short in overtime?

17· · · · · · ·MR. BARROUKH:· Objection to form.· You can

18· · · · answer.

19· · · · A· · Yeah.· I'm -- I can't -- I can't recall.

20· · · · Q· · Do you remember -- by looking at this --

21· what, um, pay period, or what check, um, the

22· additional amount was added to when they said that

23· they were gonna correct it?

24· · · · · · ·MR. BARROUKH:· Objection as to form.· You

25· · · · can answer.


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·1· · · · A· · Um, no.· No, sir.

·2· · · · Q· · So when you say, "That you complained about

·3· the hours; um, and they said that they were gonna

·4· reimburse you for the discrepancy"; you did receive --

·5· did you receive a, um -- a check with an additional

·6· amount for the hours that were missed?

·7· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·8· · · · answer.

·9· · · · A· · I believe so.

10· · · · Q· · Um, do you remember when you received that

11· check?

12· · · · A· · Um, no, sir.

13· · · · Q· · Was it in the month of July?

14· · · · A· · Yes, sir.

15· · · · Q· · Do you still have the check?

16· · · · A· · Um, I'll have to go back and, um -- go back

17· and look -- look -- look in my -- in my, um -- my

18· Avista (phonetic) HR.

19· · · · Q· · Well, yeah.· I would ask if you -- if

20· you're able to; if you do, um, to just hold on to that

21· so you can give it to your attorney, um, if you're

22· able to find that check.

23· · · · · · ·Um, I would like to mark this as "Exhibit

24· 5".· All right.· One second.· One second.· All right.

25· The next exhibit I wanna show you is just kind of a,


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·1· um -- a corres -- this is a correspondence that seems

·2· to be about a -- a number of issues.· Um, one second.

·3· Are you familiar with this, um, text message?

·4· · · · A· · Yeah.· That's when I was complaining --

·5· complaining about my -- 'bout the hours too.· And, um,

·6· that was -- that's -- that's when HR sent me -- sent

·7· me -- sent me that.

·8· · · · Q· · So this is when you reached out, I guess,

·9· to someone, um -- to HR regarding your complaints

10· about the hours.· Do you remember who the individual

11· was?

12· · · · A· · Um -- um, I guess it was, um, whoever H --

13· HR is.· I -- I forgot her name.· But I was complaining

14· about how they was filling out -- filling out the

15· timesheet, it wasn't right.

16· · · · · · ·They was filling -- they was filling out --

17· they was filling out our names; and -- and -- and

18· filling out our timesheets; and writing our signatures

19· down.· And that's what I was trying to explain to her.

20· · · · Q· · Now when she, um, wrote you this on

21· November 6th, and, um, let you know the hours that you

22· had worked for that week; um, and she says, "Please

23· let me know what hours are wrong".· Did you ever let

24· her know what hours are wrong?

25· · · · · · ·MR. BARROUKH:· Objection to form.· You can


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·1· · · · answer.

·2· · · · A· · Um -- um, yes, sir.· And like I said, they

·3· was trying to meet up with us -- they was trying to

·4· meet up with us, and kinda try to pay us.

·5· · · · Q· · The question I was asking you, "Do you see

·6· where she asks you a question here where it says,

·7· 'Please let me know what hours are wrong'"?· In your

·8· response in any way did you let her know, um, in

·9· response to her questions what hours, um, were wrong?

10· · · · A· · No, sir.· I --

11· · · · Q· · And then when she asked you additionally,

12· um, after you stated here, when she says, "Give me a

13· call, we need to -- we need to get together to go over

14· this to get the hours paid to you correctly".· Um, did

15· you ever respond to that message?

16· · · · · · ·MR. BARROUKH:· Objection -- objection to

17· · · · form.· You can answer.

18· · · · A· · Um, no, sir.· Because we was on our way

19· back to -- to, um -- to Destin, Florida from Orlando.

20· · · · Q· · Were you not able to -- were you not able

21· to call her on your way back there for some reason?

22· · · · A· · Um, no, sir.· Me and my -- me and my

23· brother went over it; and like I said, I didn't -- I

24· didn't think it was safe to go meet up with somebody

25· we never met, and never spoke to over the phone.


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·1· · · · Q· · But he -- he didn't feel -- if you didn't

·2· feel safe, um, meeting up with them; did you at least

·3· give them a call to discuss the issues that they were

·4· trying to resolve?

·5· · · · · · ·MR. BARROUKH:· Objection.· You can answer.

·6· · · · A· · --

·7· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

·8· · · · reporter requests clarification).

·9· · · · · · ·THE WITNESS:· Um, yes.· Yes, ma'am, we did.

10· BY MR. JONES, III:

11· · · · Q· · And when did you try to call them?

12· · · · A· · Me -- me and my brother -- me and my

13· brother had called 'em, and let -- let them know that

14· our names was being written down; and that we was

15· never going in at 7:30.· We was always going in at

16· six.

17· · · · Q· · And when was this?· Was this after she sent

18· you this message, um, when you -- when she says, "Give

19· me a call"?

20· · · · A· · This is before.

21· · · · Q· · Okay.

22· · · · A· · Oh, no.· No.· It was after.· When she --

23· when she sent me that message; you know, um, me and my

24· brother had called her, and let -- and let her know.

25· · · · Q· · And what was that conversation?· Did you


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·1· all during that conversation go over the hours that

·2· you alleged were incorrect?

·3· · · · A· · Um, yes, sir.

·4· · · · Q· · And what did you -- what did she say in

·5· response to that?

·6· · · · A· · Um, she said that she was gonna -- gonna

·7· get with Ryan Witt.

·8· · · · Q· · And did they tell you anything after that?

·9· · · · A· · Um, yes, sir.· They was -- they said that,

10· um, after that, you know, um, they asked me -- um,

11· they -- they told me they was gonna meet -- meet me at

12· the -- meet me at the jobsite.

13· · · · Q· · And did you meet them at the jobsite?

14· · · · A· · No, sir.

15· · · · Q· · And why not?

16· · · · A· · I -- 'cause I -- I felt uncomfortable.

17· The -- the way I was being treated and everything, I

18· just felt -- I -- I felt uncomfortable.· Like I said,

19· Isaac threatened me to -- to beat me -- to fight me

20· and whatnot.

21· · · · · · ·And I just -- I just felt uncomfortable.

22· And they was asking to meet up at 9:30, H -- at HR;

23· and then, um, Pappas, Lucas was asking us to meet up

24· at 9:30; I didn't feel comfortable.· I didn't -- I

25· didn't -- or safe to do that.


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·1· · · · Q· · So you're saying that, um -- and I wanna

·2· kinda get the timeline on this.· When this -- they

·3· sent this -- the message right here was sent out at

·4· 9:00 on November 6th.· So when did you call HR after

·5· this message?

·6· · · · A· · Probably that, um -- um, I believe me and

·7· my brother talked to -- talked to 'em that Tuesday.

·8· · · · Q· · During the day?

·9· · · · A· · Yes, sir.

10· · · · Q· · So when she emailed -- or excuse me --

11· messages you on November 7th; on Tuesday at seven --

12· or excuse me -- 6:58 p.m. and asks you, "Alonzo, are

13· you going to work tonight?"· You're saying that you

14· already had a conversation with HR at that time before

15· that?

16· · · · A· · Um, yes, sir.· We -- we spoke -- like I

17· said, me and my brother spoke -- spoke to 'em over the

18· phone.· And during that time they asked me if I was

19· coming into work; they left me.· They left me at the

20· hotel.

21· · · · Q· · When you say -- who left -- who left you,

22· exactly?

23· · · · A· · Um -- um, Isaac; Pollo; um; Jojo; and the

24· other -- the other two guys.

25· · · · Q· · And these are your, um -- your coworkers --


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·1· · · · A· · Coworkers.· Yeah.· Coworkers.· Yes, sir.

·2· · · · Q· · All right.· I'm gonna mark this as "Defense

·3· Exhibit 6".· All right.· I just wanna go over some of

·4· these other, um, text message threads, and ask some

·5· questions about those.· Are you familiar with this,

·6· um, text message?

·7· · · · A· · Yes, sir.

·8· · · · Q· · All right.· And who was this, um, text

·9· message with?

10· · · · A· · The, um -- that was, um, to --

11· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

12· · · · reporter requests clarification).

13· · · · · · ·THE WITNESS:· That was to Ryan Witt.

14· BY MR. JONES, III:

15· · · · Q· · And this no call/no show that you're

16· referring to in this, was this another employee or

17· colleague that you were talking about?

18· · · · A· · Um, yes, sir.· We -- his name go by "Red".

19· · · · Q· · And what happened with that situation?

20· · · · A· · I'ma -- well, we was in Texas at the time;

21· and like I said, they was supposed to come pick us up,

22· and they didn't even go -- they didn't even stop by

23· his house.

24· · · · · · ·They just -- they just -- they just went

25· ahead and straight went to Florida, and -- and -- and


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·1· fired him; because like I said, we was all -- we was

·2· all, um -- we was all getting into it about -- about

·3· the hours, and how we was being treated.

·4· · · · Q· · Madam Court Reporter, I'd like to mark that

·5· as, "Defense Exhibit", um, "7".· All right.· Are you,

·6· um, able to see this?

·7· · · · A· · Yes, sir.

·8· · · · Q· · And who is this, um, text message with?

·9· · · · A· · To, um, Ryan.· That was -- that was

10· personal.

11· · · · Q· · Now it says, um -- and I apologize for

12· going down this line of questioning; but I just wanted

13· to ask really quick.· Um, but it says that you -- in

14· this message that you were on fentanyl at one point.

15· Um, did you have any type of drug issues while you

16· were at -- working for, um, Southern Road?

17· · · · A· · No.

18· · · · · · ·MR. BARROUKH:· Objection to form.· I'm on

19· · · · the record gonna state, um, please don't press

20· · · · too much into this line of questioning before it

21· · · · becomes harassing.

22· · · · · · ·Um, I understand you -- you're entitled to

23· · · · ask about it; but I'm gonna protect my client

24· · · · right now because we may be stepping out of line

25· · · · at this point.


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·1· · · · · · ·But, please, continue with a few more

·2· · · · questions.· So Alonzo, if you -- if you heard

·3· · · · the question and know the answer; um, please

·4· · · · respond.

·5· · · · · · ·THE WITNESS:· Yeah.· I just don't feel

·6· · · · comfortable talking about that.

·7· · · · · · ·MR. BARROUKH:· Alonzo, I'm gonna ask you --

·8· · · · you respond to -- to the question; if you know

·9· · · · what he -- if you remember what he asked?

10· · · · · · ·THE WITNESS:· Yes, sir.· Yeah.· 'Bout

11· · · · that -- that -- that text message was to Ryan

12· · · · Witt.

13· BY MR. JONES, III:

14· · · · Q· · And did you have, um -- were you on any

15· type of drugs, um, while you were employed with, um,

16· Southern Road?

17· · · · A· · No, sir.

18· · · · · · ·MR. BARROUKH:· Objection to form.· You can

19· · · · answer.

20· · · · · · ·THE WITNESS:· No, sir.· I wasn't at all.

21· BY MR. JONES, III:

22· · · · Q· · All right.· I'd like to mark that as,

23· "Defense Exhibit", um, "8".· Are you able to see this

24· text message?

25· · · · A· · Yes, sir.· That's when I was -- yes, sir.


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·1· That was to Ryan Witt.

·2· · · · Q· · And do you remember when this, um -- I

·3· guess this part of the thread occurred?

·4· · · · A· · Um, yes.· That -- that's -- that's when

·5· they started -- started -- um, started threat --

·6· threatening me and stuff, and all that.

·7· · · · Q· · And when you say, "They"; who -- who are

·8· you referring to?

·9· · · · A· · Um, Ryan; and Isaac; and Pollo.

10· · · · Q· · And this, um -- what were you, I guess, um,

11· expressing to Mr. Witt at this time?

12· · · · A· · Um -- um, he -- he was just -- just

13· talking -- talking about work.· And I was telling him

14· about my -- 'bout the -- 'bout the hours and whatnot,

15· and how I -- how I was getting treated.

16· · · · · · ·And, you know, I was -- I was explaining to

17· him like, "Hey, I used to make six figures; and

18· this -- this -- this ain't -- this how -- this not how

19· I've been treated".· "I've never been treated like

20· this".

21· · · · · · ·And like I said, with the drama that was

22· 'bout the girl that -- that he supposedly -- that --

23· saying that me and my brother was speaking to at the

24· time.· And we didn't -- we didn't -- we didn't have no

25· idea what was going on.


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·1· · · · Q· · And I would like to mark that as, um,

·2· "Defense Exhibit 9".· Are you able to see this, um,

·3· text message?

·4· · · · A· · Yeah.· That was -- that -- that was talking

·5· 'bout the same -- the same thing.

·6· · · · Q· · And were you expressing, I guess, doing

·7· some other type of -- interest in doing some other

·8· type of work, um, to Mr. Witt?

·9· · · · A· · Um, no.· He was -- he was just ask --

10· asking me -- um, asking me do I know how to do, um --

11· um, these different things.· And I was just -- I was

12· just letting him know.

13· · · · Q· · Now, um, when Mr. Witt asked you, um, "Are

14· you and Jose sleeping on the couch?"· Um, what was he

15· referring to?

16· · · · A· · Um, we was -- um, we started bunking -- we

17· started sharing rooms together; and at the time, I

18· believe, um, he -- um, Jose, he -- he was just

19· complaining.

20· · · · · · ·He was complaining about something.· I'm --

21· I'm -- I'm not 100% sure; but he never -- he never

22· slept on the couch, 'cause he -- we all would bunk

23· together.· He -- he had a -- he had his own -- own

24· bed.

25· · · · Q· · Did you ever have any issues, I guess,


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·1· with, um, Mr. -- Mr. Witt or any other -- other, um,

·2· employees at Southern Bridge regarding, um, sleeping

·3· while on the job?

·4· · · · A· · No.· Nobody -- nobody -- nobody slept on

·5· the job.

·6· · · · Q· · Were you ever, um, I guess, given a verbal

·7· warning; or coached; or anything regarding sleeping on

·8· the job?

·9· · · · · · ·MR. BARROUKH:· Objection to form.· You can

10· · · · answer.

11· · · · A· · I only -- the only time; when the, um --

12· when the air hose -- air hose went off the jackhammer,

13· and it hit -- the air hose had hit me in the head; um,

14· Isaac told -- Isaac, my foreman, told me to go sit

15· down in the truck for a little bit.· And he told me

16· that, "If you see Ryan, I'ma come get you and so you

17· can come back out".· Because he didn't wanna write a

18· injury report.

19· · · · Q· · And when did this incident happen?

20· · · · A· · Um -- um, I believe around September, I

21· believe.

22· · · · Q· · Did you report -- did you report this

23· incident to anyone?

24· · · · A· · No, sir.· Because Isaac told me he didn't

25· wanna have to fill out a -- a incident report.


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·1· · · · Q· · Did you file any type of Workers'

·2· Compensation claim on this injury?

·3· · · · · · ·MR. BARROUKH:· Objection to form.

·4· · · · A· · No, sir.· No, sir, I didn't.

·5· · · · Q· · And what happened?· Did you -- did you have

·6· to go, um, seek any type of medical treatment?

·7· · · · A· · Um, no.· No, sir.

·8· · · · Q· · So you didn't go to, I guess, a doctor; a

·9· hospital; or anything like that?

10· · · · A· · Um --

11· · · · · · ·MR. BARROUKH:· Objection to form.· You can

12· · · · answer.

13· · · · · · ·THE WITNESS:· No, sir.· When a -- when a

14· · · · hose get disconnected, um, and it -- I had my

15· · · · helmet -- I had my helmet on and whatnot.· But,

16· · · · um, I was just told to -- to go sit in the

17· · · · truck.

18· BY MR. JONES, III:

19· · · · Q· · Madam Court Reporter, was that "Exhibit 10"

20· on the last one that we were on?· Or "9?· I'm sorry.

21· · · · · · ·THE COURT REPORTER:· (Thereupon, a

22· · · · discussion off the record was held).

23· BY MR. JONES, III:

24· · · · Q· · Okay.· Yeah.· I would like to mark the last

25· one as "Defense Exhibit 10".· Now you see this -- oh,


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·1· sorry.· Do you see this, um, text message?

·2· · · · A· · Yes, sir.

·3· · · · Q· · This is also with Mr. Witt?

·4· · · · A· · Yes, sir.

·5· · · · Q· · Um, is this where you're, I guess -- um,

·6· what are you -- what are you guys, um, talking about

·7· in this text message?

·8· · · · A· · Um, we was talking about our time.· 'Cause

·9· like I said, Our times wasn't adding up, because what

10· they was -- what Isaac was putting down didn't add up

11· to what our -- what I had down.

12· · · · Q· · But was he, I guess, requesting, um, you to

13· send him the -- the records of the discrepancies?

14· · · · · · ·MR. BARROUKH:· Objection to form.· The text

15· · · · message speaks for itself.· You can answer.

16· · · · A· · That was -- that -- yeah.· Like I said, he

17· was writing our names down; and I was just -- I was

18· letting 'em know like, um, what -- what time do I have

19· to give you?· Like because he was -- because Isaac was

20· writing our names down on our timesheets and filling

21· 'em out.

22· · · · Q· · All right.· I'd like to mark that one as --

23· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

24· · · · reporter verified if Mr. Jones said "Exhibit

25· · · · 11").


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·1· · · · · · ·MR. JONES, III:· Yeah.

·2· · · · · · ·MR. BARROUKH:· Can we go off the record for

·3· · · · one moment, please?

·4· · · · · · ·MR. JONES, III:· Yep.

·5· · (Thereupon, a discussion off the record was held)

·6· · · · · · ·(Thereupon, a break was taken)

·7· · · · · ·(Thereupon, all of the participants

·8· · · · · · · returned back from the break)

·9· · · · · · ·MR. BARROUKH:· Arthur, I think we're ready

10· · · · to go back on whenever you are?

11· · · · · · ·MR. JONES, III:· Yeah.

12· · · · · · ·MR. BARROUKH:· Okay.· Ms. Court Reporter,

13· · · · back on the record, please.

14· BY MR. JONES, III:

15· · · · Q· · All right.· Um, one second.· All right.

16· Mr. Hawkins, are you able to see this, um, text

17· message on the screen?

18· · · · A· · Um, yes, sir.· I can see it.

19· · · · Q· · Um, was this with, um, Ryan Witt, um, this

20· text message thread?

21· · · · A· · Yeah.· Um, yes, sir.· Yeah.· Like I said,

22· Isaac is the one that -- our foreman, he's -- he's the

23· one that -- that be writing our hours -- um, writing

24· our hours down; writing, um -- the, um -- um,

25· writing -- writing our -- um, filling out our


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·1· signatures and whatnot.· And we never get to look at

·2· our hours.

·3· · · · Q· · Now when, um -- at the end of this when

·4· you're, um, discussing, I guess, the discrepancy of

·5· the hours, and Mr. Witt tells you to, "Ask Christina

·6· because she handles payroll"; um, did you ever reach

·7· out, um, to Christina at this time?

·8· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·9· · · · answer.

10· · · · A· · Did I -- you said, "Did I -- did I reach

11· out to her?"

12· · · · Q· · Yeah.

13· · · · A· · Um, yes.· Yes, sir.

14· · · · Q· · Um, and --

15· · · · A· · No.· No.· Um, no -- no, sir.· Um, I didn't.

16· 'Cause I -- like I never had her number.

17· · · · Q· · Did you ask, um, Mr. Witt for her number?

18· · · · A· · Um, no, sir.· But at the time, um, I -- I

19· guess that's when my brother had -- had called 'em.

20· · · · Q· · Called who?· Um --

21· · · · A· · Um, HR.

22· · · · Q· · So you never -- are you saying that you

23· never spoke to HR directly yourself?

24· · · · · · ·MR. BARROUKH:· Objection to form.· You can

25· · · · answer.


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·1· · · · A· · No, sir.· 'Cause I never -- I never had the

·2· number.

·3· · · · Q· · Okay.· Um -- hold on.· I would like to --

·4· sorry -- mark this as "Exhib" -- "Defense Exhibit 12".

·5· Are you able to see this, um, text message thread?

·6· · · · A· · Yes, sir.

·7· · · · Q· · Now, um, do you -- do you recall around

·8· what time frame this is this took place?· These --

·9· this -- these, um -- this text message thread that

10· we've been going through?

11· · · · A· · Um, the same -- same -- same time.· Around,

12· um, like October.· October the 23rd.

13· · · · Q· · Now do you see where it says that you

14· responded, um, to Mr. Witt to, "Stop calling you"?

15· · · · A· · Yeah.· 'Cause he was harassing me.· I felt

16· like I was being harassed.

17· · · · Q· · In what way did you feel like you were

18· being harassed at this time?

19· · · · A· · For one, he wasn't call -- really calling

20· me about the HR payroll.· He was calling me about that

21· girl.

22· · · · Q· · Did you -- did you talk to him at this time

23· when he called you?

24· · · · A· · No, sir, I didn't.· Um, no.· This is all

25· through text message.


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·1· · · · Q· · So how do you know what -- what -- okay.

·2· Strike that.· I'm sorry.· What are you basing that off

·3· of that he's -- how do you know that he was calling

·4· you regarding that girl if you didn't pick up the

·5· phone?

·6· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·7· · · · answer.

·8· · · · A· · Because Isaac kept -- um, Isaac called me,

·9· and he was like, Um, "Ryan wanna -- wanna ask you

10· about that girl -- about the girl and stuff".· And,

11· you know, and it wasn't -- it wasn't appropriate; so,

12· you know, that -- that's what -- that was the reason

13· why I told him to stop calling me.· If it ain't about

14· the hours, don't -- stop calling me.

15· · · · Q· · So, when Mr., um, Witt at the end of this

16· message says that, "It's insubordination, um, to not

17· answer work calls".· At that point, did you answer the

18· call?

19· · · · A· · Um, yes.· That's when -- when I -- I

20· spoke -- I had -- yes.· I did speak with Ryan and

21· Isaac.· And when I was telling 'em what was going on,

22· that's when I was getting written by Isaac in the --

23· in the text message saying that he was gonna beat --

24· um, he was gonna beat me up now whenever -- whenever

25· he see me.


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·1· · · · Q· · So, you called him after this text message

·2· thread; and you're saying that you talked to him about

·3· the issues that you were having with Isaac?

·4· · · · A· · Well, he called --

·5· · · · · · ·MR. BARROUKH:· Objection to form.

·6· · · · Objection to form.· You can answer.

·7· · · · · · ·THE WITNESS:· He called -- he called me on

·8· · · · three-way with -- with -- um, Ryan called me on

·9· · · · three-way with Isaac; and he -- when he was

10· · · · asking -- when he was saying that, um, "You need

11· · · · to get with your foreman about the thing".· And

12· · · · I was telling him, "Hey, my foreman been filling

13· · · · out our -- um, our hours, that's why we was not

14· · · · getting paid correctly".

15· BY MR. JONES, III:

16· · · · Q· · So, at that time, did you reach out to --

17· after you talked to Ryan, did you reach out to

18· Christina to discuss the issue?

19· · · · A· · Um, no, sir.· Um, we had to go to work.· We

20· had to go to work at -- we had to go to work when I

21· was in Orlando.

22· · · · Q· · Did you, I guess, attempt to call her?

23· · · · · · ·MR. BARROUKH:· Objection to form.· You can

24· · · · answer.

25· · · · A· · I didn't -- I didn't have her number.


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·1· · · · Q· · Okay.· One second.· I'd like to mark the

·2· last exhibit as, "Defense Exhibit 13".· Um, and I

·3· wanted to kinda switch gears and talk about the

·4· discrimination, um, that you're alleging in this case.

·5· Um, when would you say that that started?

·6· · · · A· · Um, like I said, when, um -- it's been

·7· several incidents and stuff.· Um, the time when my mom

·8· passed away, um, we didn't get the time off.· And

·9· then, um, another time when Pollo asked for time off

10· that -- to have with his kids, he gave him more -- way

11· more.

12· · · · · · ·He gave him like five days off.· And we --

13· we didn't -- we didn't like that at all.· And the

14· other discrimination was when we -- we used to go

15· to -- we used -- we used to go to, um -- we used to go

16· eat before we go to work; and Isaac said, "Like no

17· more of that".

18· · · · · · ·And so -- so we stopped going; but then

19· when the other -- the other guys started work -- the

20· other guys started working, they let them go to -- go

21· to lunch; go to the bathroom; they could do anything

22· they wanted.

23· · · · · · ·We -- we couldn't even drive the trucks no

24· more.· It was at that point we had to start calling

25· Door Dash to go get food and stuff.· And we was using


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·1· the -- using the restroom off the bridge.

·2· · · · · · ·And not only that, the -- the, um -- the

·3· State Inspectors even told -- even told Ryan, "Why you

·4· treating these guys like this?"· "Why they being

·5· treated like this?"

·6· · · · Q· · I did wanna go over kind of, um, the

·7· incidents that we kinda haven't already talked about.

·8· Um, I wanna revisit, um, the ones we've already

·9· discussed.

10· · · · · · ·Um, but you mentioned the one about, um,

11· regarding not being able to eat, um, before you went

12· to work.· Um, when was this -- when did this incident

13· take place, or start occurring?

14· · · · A· · I believe after, um -- umm, when Desmond --

15· Desmond Jones, he had, um -- he had left because they

16· was going -- because that was going on.· And him and

17· Isaac got into it; and it was -- it went on for a

18· few -- it went on for a few months.

19· · · · Q· · Now who implemented this policy?· Who told

20· you that you all couldn't, um, go to eat before work?

21· · · · A· · Um, Isaac.

22· · · · Q· · And what did -- did he say, specifically?

23· · · · A· · He told -- he told us -- he -- he said --

24· he told us that, "Ryan don't want us to go -- to go

25· eat before work".· "Do it a hour prior and whatnot;


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·1· and be at the yard, um, on time".· Which we never had

·2· no -- had no problem being at the yard on time.

·3· · · · Q· · So, when Isaac said this to you, who else

·4· was he talking to, um, when he said this?

·5· · · · A· · Um, Nicholas Ford; Caden; and -- and me;

·6· and Desmond Jones.

·7· · · · Q· · Are those all the people that were working

·8· at that time?

·9· · · · A· · Yes.

10· · · · Q· · So he said -- he said this to the whole

11· crew?

12· · · · A· · Yes, sir.

13· · · · Q· · Um, so I guess this was kind of like an

14· instruct -- an instruction, um, to everybody on the --

15· um, all of the members of the team?

16· · · · A· · At the -- at the time.· But then like I

17· said, his other three friends showed up like around

18· late June, early -- late -- yeah.· Well, late -- late

19· July.· That's when his friends -- friends came to work

20· with us; and he let them do whatever they want.

21· · · · Q· · Now when you say, "They were able to do

22· whatever they want"; um, could you give me some

23· examples?

24· · · · A· · They was able to go to take a lunch break;

25· they was able to go use the restroom; they was -- they


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·1· was able to drive the trucks whenever they -- whenever

·2· they needed to off work.

·3· · · · Q· · Do you know the -- the -- the race of the

·4· friends of Isaac that came?

·5· · · · A· · Um, Hispanic.

·6· · · · Q· · And you're saying that you all were not,

·7· um, able to take lunch breaks and use the restroom?

·8· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·9· · · · answer.

10· · · · A· · That's correct.

11· · · · Q· · Now we talked about, um, the lunch break

12· issue; but who instructed you that you were not

13· allowed to use the restroom?

14· · · · A· · Isaac.

15· · · · Q· · And when did he say this?

16· · · · A· · Um, the -- the same time when he -- he --

17· he applied those rules the same time around we can't

18· -- we couldn't eat lunch and all that.

19· · · · Q· · Okay.· Were there any other rules that he

20· told you all, um, at this time?

21· · · · A· · Um, no sir.

22· · · · Q· · Now what did he specifically say to you all

23· regarding the restroom?

24· · · · A· · Um, he -- he just like -- he said this --

25· there's -- he said, "Just use it off the bridge".


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·1· "Use -- use it off -- use the bathroom off the

·2· bridge".

·3· · · · · · ·And when -- when we have to go use -- use

·4· the bathroom, he told us, "To go under the bridge".

·5· "Go under the bridge and use it".· He say, "He got

·6· toilet paper in the truck".

·7· · · · Q· · And did he say this to everybody that was

·8· working at the time?

·9· · · · A· · Naw.· He just told -- he just told me; my

10· brother; Caden; and -- and -- and Desmond.

11· · · · Q· · Who was working at the time that he said

12· this to you?

13· · · · A· · Um, his brother, Pollo.

14· · · · Q· · Now regarding the, um -- we'll take it one

15· at a time.· Regarding the incident with the restroom,

16· did you ever complain or report this incident to

17· anybody?

18· · · · A· · No, sir.

19· · · · Q· · Um, did you contact HR about it?

20· · · · A· · I didn't have HR's number.

21· · · · Q· · Um, at that time, did you ask for it, or

22· seek to -- seek to get it?

23· · · · A· · No, sir.

24· · · · Q· · Um, now regarding the incident regarding,

25· um -- or the policy regarding not being able to go to


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·1· eat before work.· Um, did you report this incident to

·2· HR?

·3· · · · A· · No, sir.· Didn't -- didn't -- didn't have

·4· the number.

·5· · · · Q· · Did you contact or report this incident to

·6· anyone else that worked with Southern -- Southern Road

·7· & Bridge?

·8· · · · A· · Yeah.· Like I said, when we -- we -- we

·9· never had any kinda, um, knowledge to who to -- who to

10· call for these things and stuff.

11· · · · Q· · Did you ever tell, um, Mr. Ryan Witt about

12· this issue?

13· · · · A· · Um, no.· No, sir.· He the one who applied

14· it.· From what -- from what I was told, that's what

15· Isaac -- Isaac said, you know, "This what Ryan -- Ryan

16· said".

17· · · · Q· · But you never went and talked to Mr. Witt

18· about it?

19· · · · A· · No, sir.

20· · · · Q· · Now did you ever talk to any of your

21· friends or family about this, um, discrimination that

22· you allege?

23· · · · A· · Yeah.· Me -- me and my -- me and my

24· brother; and Desmond; and Caden talked about it.· And

25· also the State -- the State Inspectors, they came and


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·1· asked us about it.

·2· · · · Q· · And when did they ask you about it?

·3· · · · A· · Um, I believe it was in Sep -- September.

·4· September or October.

·5· · · · Q· · What was the context of that conversation?

·6· · · · A· · Um, the State -- the State Representative

·7· asked.· He -- he said, "Man, I went up to Ryan and

·8· asked him why he treating -- why -- why y'all getting

·9· treated different than -- than the other guys"?

10· · · · · · ·And, you know, and -- and he asked him,

11· "Was he racist?"· And Ryan asked -- Ryan replied,

12· "No".· And that's what -- that's what he told me; me

13· and -- me and my brother.· 'Cause me and my -- 'cause

14· him -- um, the State Inspector and my brother, they

15· was real tight.

16· · · · Q· · And when did this -- well, was he there

17· inspecting the -- the place randomly?· Or why was he

18· there, um, at that time?

19· · · · A· · They, um -- they -- they the -- they the

20· State Inspector; so they watch -- they watch us while

21· we work; make sure nothing, um, don't get, um, damaged

22· or whatnot.

23· · · · Q· · Now when these policies were being

24· implemented, um, did you say, or do anything in

25· response to those policies?


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·1· · · · A· · No, sir.· I just -- you know, I was just

·2· doing -- doing what I was told to do.· I just did my

·3· job.

·4· · · · Q· · And I just wanted to also um, kinda switch

·5· gears and start talking about the, um, retaliation

·6· piece in this matter.· Um, could describe the

·7· instances in which you claim that you were retaliated

·8· against?

·9· · · · · · ·MR. BARROUKH:· Objection to form.· Calls

10· · · · for a legal conclusion.· And "retaliation" is a

11· · · · legal definition; so, please, clarify.

12· BY MR. JONES, III:

13· · · · Q· · You claim that you were, um, unlawfully

14· terminated, um, because you reported, um, something;

15· is that correct?

16· · · · A· · --

17· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

18· · · · reporter requests clarification).

19· · · · · · ·THE WITNESS:· Oh.· Correct.· Correct.

20· BY MR. JONES, III:

21· · · · Q· · Um, now can you describe the instances, um,

22· in which you, um, reported something that you allege

23· led to your termination?

24· · · · A· · Yes.· I had reported -- I reported -- I

25· reported everything, um, after that.· I was -- I was


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·1· just fed up with how I was being treated; and once I

·2· reported everything and asked for time off, um -- um,

·3· that's when I -- that's when I got -- that's when I

·4· got, um -- um, fired.

·5· · · · · · ·When, um, I -- I told -- I told HR about

·6· how Ryan was treating us; and how, um, he came up at

·7· us with this girl; and she got pregnant; and he moved

·8· hotels; and he was -- and -- and all that.

·9· · · · · · ·And -- and how -- how we was getting called

10· the "N" word all the time; and, you know, and about

11· our hours, and how they was getting broke down and all

12· that.· I was -- I was -- and then I got threatened

13· and, you know -- and all that.

14· · · · · · ·And he didn't -- he didn't really say --

15· say too much.· And, um -- um, when I was speaking with

16· HR, you know, she said she would get with Ryan and

17· whatnot; and I don't think that ever happened.· Well,

18· I -- I -- I guess it happened, 'cause like I said, I

19· got fired because I spoke up.

20· · · · Q· · Now you mentioned that you got, um, fired,

21· um, in retaliation -- or excuse me, you got fired, um,

22· because of the reporting that you did in this case.

23· Um, prior to your termination, did anybody try to

24· reach out to you, um, regarding coming back to work?

25· · · · · · ·MR. BARROUKH:· Objection to form.· The term


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·1· · · · "retaliation" is a le -- calls for a legal

·2· · · · conclusion.· If you understand the legal

·3· · · · definition of "retaliation", Alonzo; you can

·4· · · · answer.

·5· BY MR. JONES, III:

·6· · · · Q· · I'll rephrase.· Um, now when you, um,

·7· allegedly, got terminated; um, did you -- did anybody

·8· at the -- or at Southern Road reach out to you in

·9· order to come back to work?

10· · · · A· · No, sir.

11· · · · Q· · Um, did Georgie Pappas (sic) reach out to

12· you regarding, um, discussing your hours?

13· · · · A· · Um, yes.· He -- he had -- he had reached

14· out -- he had reached out to me and my brother.

15· · · · Q· · And what happened when he reached out to

16· you?

17· · · · A· · Well, we -- we -- we told him 'bout what

18· was going on, 'bout the discrimination; and -- and

19· about our hours, and how -- how they was being written

20· down and whatnot.

21· · · · · · ·And like I said, he got with Ryan, and

22· Ryan -- Ryan sent me a text message to say, "Hey,

23· we're -- we're gon' to get together when y'all -- when

24· you guys come back".· Um, and that -- that never

25· happened.· But as far as me -- somebody, um, calling


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·1· me back -- to come back to work; nobody called me.

·2· · · · Q· · Did anybody text you and tell you to come

·3· back to work?

·4· · · · A· · No, sir.

·5· · · · Q· · Did they text you and ask you if you were

·6· going back to work?

·7· · · · A· · No, sir.

·8· · · · Q· · Did you, um, block any of your, um,

·9· employees (sic) or -- or colleagues, um, phone numbers

10· around this time when they were reaching out to you?

11· · · · · · ·MR. BARROUKH:· Objection to form.

12· · · · Mr. Hawkins did not employ any individuals.· You

13· · · · can answer the question.

14· BY MR. JONES, III:

15· · · · Q· · Or your colleagues?

16· · · · A· · Yes.· I had to, because they was -- they

17· was threatening me.· They was threatening to come to

18· my house and come kill me.· I had to call the police.

19· · · · Q· · Did you file a police report?

20· · · · A· · Yes, sir.· I sure did.

21· · · · Q· · What was -- what date was this?

22· · · · A· · Um, it was in the middle of No -- November.

23· · · · Q· · Of '23?

24· · · · A· · Yes, sir.

25· · · · Q· · Did it occur in, um, Texas as far as the


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·1· police?

·2· · · · A· · Yes, sir.· In Arlington, Texas where I

·3· was -- where I was living at, at the time.

·4· · · · Q· · Now, um -- now regarding your termination;

·5· did you talk to -- besides your brother, did you talk

·6· to anybody in your, um, family, or your friends about

·7· this?

·8· · · · A· · No, sir.

·9· · · · Q· · Now following, um, the end of your

10· employment at, um, Southern Roads; um, do you know how

11· long it took you to -- to find your, um, next, um,

12· job?

13· · · · A· · Um, it took -- it -- it took a -- it

14· took -- took awhile because it was during the holidays

15· and whatnot.· So I didn't get -- I didn't get, um,

16· hired -- I didn't get hired to the Rios Group until,

17· um, March the 18th, of 2024.

18· · · · Q· · Okay.· And during this time, how -- how

19· were you looking for a job?· Like what methods were

20· you using?

21· · · · A· · Um, Indeed.

22· · · · Q· · Um, about how many applications would you

23· say that you submitted during that time?

24· · · · A· · About -- I'd say about -- at least about

25· ten.


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·1· · · · Q· · And did you have any interviews?

·2· · · · A· · Um, no, sir.· Like I said, they -- um, I

·3· got -- I got called back.· They'd said that, "It's the

·4· holidays, we'll give you a call back", whatnot.

·5· · · · Q· · And did you do any other type of work at

·6· that time?· Consulting or anything?

·7· · · · A· · No, sir.

·8· · · · Q· · Now what was your, um -- what was your pay

·9· when you left, um, Southern Road?

10· · · · A· · $23 an hour.

11· · · · Q· · And can you remind me how much you're

12· making at your current position?

13· · · · A· · Um, 27.50.

14· · · · Q· · Now following this incident, were you, um,

15· unable to work for any other reason besides it just

16· being the holidays?

17· · · · · · ·MR. BARROUKH:· Objection to form.· You can

18· · · · answer.

19· · · · A· · Um, like I said, I got -- got fired, and,

20· you know, it was just hard to look -- look for a job.

21· You know, Thanksgiving was coming up; and then

22· Christmas; and then New Years.· Nobody was hiring.

23· · · · Q· · And how -- and during this time frame, um,

24· how often would you say that you were looking for a

25· job?


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·1· · · · A· · Every -- every week.· Every -- every --

·2· every -- every day of the week.· I had rent due; and

·3· child support; and all that stuff.· Yeah.· It was --

·4· · · · Q· · And are you thinking about, um, retiring

·5· any time soon?

·6· · · · A· · No, sir.

·7· · · · Q· · Now did you have to, um, seek any type of

·8· medical treatment regarding this incident?

·9· · · · · · ·MR. BARROUKH:· Objection to form.· You can

10· · · · answer.

11· · · · A· · You -- you said -- could you -- could you

12· repeat that again?

13· · · · Q· · Have you had to seek any type of medical

14· treatment because of this incident?

15· · · · · · ·MR. BARROUKH:· Objection to form.· You can

16· · · · answer.

17· · · · A· · I was trying to, um, seek -- seek therapy,

18· but I -- I couldn't afford to do that.· I couldn't

19· afford it.

20· · · · Q· · Did you reach out to any, um, I guess

21· therapists?

22· · · · A· · Yes, sir.· I reached out to many -- um,

23· many of 'em.· Even, um -- even off the ones online.                I

24· just -- I just couldn't afford it.

25· · · · Q· · Do you remember who the therapists were


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·1· that you reached out to?

·2· · · · A· · Um, I think -- I -- um, I can't recall

·3· right now.· I have to go look back in my cellphone.

·4· · · · Q· · Um, were you ever on any type of

·5· prescription medication?

·6· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·7· · · · answer.

·8· · · · A· · No, sir.

·9· · · · Q· · And have you ever been, um, referred to a

10· therapist or a psychiatrist before?

11· · · · · · ·MR. BARROUKH:· Objection to form.· You can

12· · · · answer.

13· · · · A· · Yes, sir.

14· · · · Q· · Um, do you know when that was?

15· · · · A· · Pretty much the whole -- the whole -- the

16· whole year last year, and a little bit this year too.

17· · · · Q· · And what was -- what was the reason that

18· you started, um, seeking this treatment?

19· · · · A· · To, um -- I -- I lost -- I lost my job; my

20· mom; my fiancee.· And, you know, just -- I was just

21· trying to catch -- catch up on all my -- all my bills

22· and stuff.

23· · · · · · ·And everything wasn't -- wasn't just

24· working out; and she seen a -- my fiancee seen a

25· change in me, and she kept telling me, "I need to go"


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·1· -- "I need to go see a therapist".

·2· · · · · · ·And my -- my sister -- my sister said the

·3· same thing and whatnot.· I just wasn't at -- I was --

·4· I just wasn't being the same.· Everything just changed

·5· once I got -- got fired, and -- and everything -- and

·6· I couldn't pay none of my bills on time.

·7· · · · Q· · Um, now did you have -- when you left

·8· Southern Road, did you have, um -- did you have any

·9· health insurance after your health insurance ended

10· with that company?

11· · · · A· · Um, no, sir.

12· · · · Q· · Um, have you seen any, um, medical doctors

13· in the last ten years?

14· · · · · · ·MR. BARROUKH:· Objection to form.· You can

15· · · · answer.

16· · · · A· · Yes.· I seen a medical doctor.

17· · · · Q· · Um, do you know the -- the name of the

18· doctor?

19· · · · A· · No.· It was just, um -- no.· It was just

20· about the time when I was at Southern Road & Bridges

21· (sic).

22· · · · Q· · What -- what did they have -- what they --

23· are you saying that they had a doctor?· Or their own

24· doctor?

25· · · · A· · Naw.· I had to go -- I -- no.· I had to go


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·1· see a doctor.· I got, um -- um, we was using a

·2· material call "methacrylate"; and it'll burn --

·3· it'll -- it'll burn through anything pretty much.

·4· · · · · · ·And we was putting it on the concrete, and

·5· we supposed to wear steel -- um, spiked steel on

·6· our -- on our boots.· Nobody -- he didn't tell us that

·7· until a week prior.

·8· · · · · · ·And so my feet -- my feet got burned, and

·9· Ryan Witt told me to go to the -- go to the emergency

10· room after -- after work; don't go during work.· And

11· so the doctor looked at me; and looked at my feet; and

12· looked at all my skin and everything and gave me --

13· um, gave me a prescription.

14· · · · Q· · Okay.· And do you remember when this

15· incident happened?

16· · · · A· · Umm, I believe like somewhere around July

17· or September; somewhere around there.· Um, August to

18· September.

19· · · · Q· · Do you remember the doctor or the office's

20· name?

21· · · · A· · Um, no, ma'am.· I went to -- um, "no, sir".

22· I went to emergency.· A little small emergency room.

23· · · · Q· · Okay.

24· · · · A· · That was next to the hotel.

25· · · · Q· · Was this -- what city was this in?


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·1· · · · A· · Destin, Florida.

·2· · · · Q· · Okay.· Um, have you seen any other doctors?

·3· · · · A· · Um, no, sir.

·4· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·5· · · · answer.

·6· · · · · · ·THE WITNESS:· No, sir.

·7· BY MR. JONES, III:

·8· · · · Q· · Do you have a primary care doctor?

·9· · · · A· · Um, no, sir.

10· · · · Q· · Now in this case, are you, um, seeking any

11· damages for emotional distress?

12· · · · · · ·MR. BARROUKH:· Objection to form.

13· · · · A· · You gotta speak to my attorney about that.

14· I don't know.

15· · · · Q· · Did you think that you would sustain any

16· type of emotional distress from this incident?

17· · · · · · ·MR. BARROUKH:· Objection to form.

18· · · · A· · You gotta speak to my attorney with that.

19· · · · Q· · Have any of the issues that you had, um,

20· mostly prevent you from working?

21· · · · · · ·MR. BARROUKH:· Ob -- objection to form.· If

22· · · · you understand what he's asking, you can answer.

23· · · · A· · Could -- could you repeat that again?

24· · · · Q· · Have any of the emotional, um, issues that

25· you're having prevent you from working at any time?


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·1· · · · A· · --

·2· · · · · · ·MR. BARROUKH:· Objection to form.· You can

·3· · · · answer.

·4· · · · · · ·THE WITNESS:· Naw.· You need to speak to my

·5· · · · attorney about it.

·6· BY MR. JONES, III:

·7· · · · Q· · You're not -- not answering?

·8· · · · A· · Correct.

·9· · · · · · ·MR. BARROUKH:· I believe he provided an

10· · · · answer.

11· · · · Q· · What was the answer?

12· · · · A· · Speak to my attorney.

13· · · · Q· · Now did this, um, affect any of your past,

14· um -- or excuse me.· Not "past", but personal

15· relationships?

16· · · · A· · Well, it -- it -- it affected my rela --

17· my, um -- my marriage status, um, my -- with my

18· fiancee, yes.

19· · · · Q· · Um, did it affect your ability to eat or

20· sleep?

21· · · · A· · Yes.

22· · · · Q· · Did you abuse drugs or alcohol because of

23· this?

24· · · · A· · No, sir.

25· · · · Q· · Um, how often did you drink alcohol prior


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·1· to, um, you leaving Southern Road?

·2· · · · · · ·MR. BARROUKH:· Objection to form.· This has

·3· · · · to be a -- a light questioning before it becomes

·4· · · · harassing.· I don't see the relevance.· You can

·5· · · · answer, Alonzo.

·6· · · · A· · You need to speak to my attorney.

·7· · · · · · ·MR. BARROUKH:· No.· Alonzo, you can answer.

·8· · · · · · ·THE WITNESS:· No, sir.

·9· BY MR. JONES, III:

10· · · · Q· · And who other than yourself, um, could

11· testify to these issues that you were having or

12· dealing with at this time?

13· · · · · · ·MR. BARROUKH:· Objection to form.· Calls

14· · · · for speculation.· Alonzo, you can answer; if you

15· · · · know.

16· · · · A· · My fiancee and family.

17· · · · Q· · And who -- who specifically in the, um,

18· family?

19· · · · A· · Um, my brother and sister.

20· · · · Q· · What's your, um, sister's name?

21· · · · A· · Ashley --

22· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

23· · · · reporter requests clarification of the last

24· · · · name).

25· · · · · · ·THE WITNESS:· "Ford", "F-O-R-D".


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·1· · · · · · ·MR. JONES, III:· All right.· I think I'm

·2· · · · done.· I don't think I have any other questions.

·3· · · · · · ·MR. BARROUKH:· I'm sorry.· You said you --

·4· · · · you do think you're done?

·5· · · · · · ·MR. JONES, III:· Yeah.· I'm done.· Yeah.

·6· · · · · · · · · · CROSS-EXAMINATION

·7· BY MR. BARROUKH:

·8· · · · Q· · Okay.· I do have a couple quick questions,

·9· Alonzo, um, that I'd like to ask you.· Now you said

10· for J.B. Hunt, you worked 80 hours a week, but that

11· there were 12 hour limitations on your shift.· Could

12· you just explain that, please?

13· · · · A· · Yeah.· Like I said, we -- we drive, then

14· we'll go back to, um -- to, um -- to the warehouse and

15· we'll -- we'll work a few more hours loading up the

16· trucks and stuff on the dock.

17· · · · Q· · Okay.· And how many days a week did you

18· work?

19· · · · A· · Um, six days a week.

20· · · · Q· · Okay.· Now just to clarify.· After your

21· employment with Southern Road & Bridge, how many times

22· per week did you try to obtain a new job?

23· · · · A· · Um, every -- like every -- every day.

24· · · · Q· · Okay.· And could you describe what that

25· looked like?· Whether it was on Indeed, or another


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·1· method?· Door-to-door applications?

·2· · · · A· · Yeah.· It was all -- it was all on -- on --

·3· on Indeed.

·4· · · · Q· · Okay.· Now you've said you never signed any

·5· employment documents until three days after working

·6· for Southern Road & Bridge; is that correct?

·7· · · · A· · Correct.

·8· · · · Q· · Do you know if they had, um -- in those

·9· three days, if you worked on any construction sites

10· during those three days?

11· · · · A· · Yes.· We worked -- we worked on a bridge

12· for those three days.

13· · · · Q· · And -- and did you work with construction

14· equipment on those -- during those three days?

15· · · · A· · Yes, sir.

16· · · · Q· · And what equipment did you work with?

17· · · · A· · Um -- um, I worked with a -- a jackhammer,

18· and a -- um, a cutting saw.· A cutting saw that's on

19· the, um, concrete.

20· · · · Q· · And you never signed any waivers or any

21· safety precautions from the company prior to

22· performing that work; is that correct?

23· · · · A· · That's correct.

24· · · · Q· · Okay.· Were there any other instances like

25· this where, um, there was improper safety, um,


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·1· requirements during your time with the company?

·2· · · · A· · Um, yes, sir.· Um, yes, sir.· We was on

·3· the -- we was on the boat in the Gulf of Mexico (sic)

·4· where it was just me and Ryan Witt.· And we was

·5· just -- we was in the dark; no lights; no nothing.· No

·6· navigation; nothing.· We was just riding in the dark.

·7· · · · · · ·And, um, there was another incident where

·8· when we put up the road signs, where we was sitting on

·9· the side -- we ride on the side of the truck, and then

10· jump off, and then -- then put the -- put the cones

11· down.· I don't think that was safe.

12· · · · Q· · Were there ever times where you didn't have

13· a hard hat, or protective equipment when you were

14· building or working on tunnels?

15· · · · A· · Um, yes, sir.· It was -- it was -- it was

16· that time.· Some -- some of those times, um, they'll

17· say, "Oh, if you see the Inspector, y'all make

18· sure" --

19· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

20· · · · reporter requests clarification).

21· · · · · · ·THE WITNESS:· Oh.· Um, it was times -- it

22· · · · was times that where the -- the State Inspector,

23· · · · um, would come up; and Isaac would say, "Hey,

24· · · · put y'all hard hats" on and whatnot.· 'Cause

25· · · · nobody -- nobody was watching us and whatnot.


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·1· · · · · · ·And he -- he would tell us that, "Y'all

·2· · · · don't need y'all hard hats".· He say, "But if

·3· · · · y'all do get ran over, I'ma have to throw your

·4· · · · hard hat out there just for safety -- safety

·5· · · · precautions against the company".

·6· BY MR. BARROUKH:

·7· · · · Q· · So, was it -- was it routine for Isaac not

·8· to follow safety protocols in these construction

·9· zones?

10· · · · A· · Yes, sir.

11· · · · · · ·MR. JONES, III:· Form.

12· · · · Q· · And who saw that in -- in place?· Who saw

13· that happening where Isaac did not follow the proper

14· safety pro -- um, protocols?

15· · · · · · ·MR. JONES, III:· Objection, form.

16· · · · A· · Caden; Nicholas Ford; Desmond Jones; and --

17· and myself.

18· · · · Q· · Okay.· And could you, please, state the

19· race or ethnicity of those individuals you mentioned?

20· · · · A· · They all African American.

21· · · · · · ·MR. JONES, III:· Form.

22· · · · Q· · Okay.· Now you stated that Mr. Witt was

23· your supervisor; however, you continued to state that

24· Mr. Ruiz gives you instructions and supervises you.

25· Is that -- is that fair to say Mr. Ruiz was also a


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·1· supervisor?

·2· · · · · · ·MR. JONES, III:· Objection, form.

·3· · · · A· · I -- I could say that, yes, sir.

·4· · · · Q· · Did you receive tasks; and instructions;

·5· and -- and assignments from Mr. Ruiz?

·6· · · · A· · Yes.

·7· · · · Q· · Who else did Mr. Ruiz give tasks;

·8· instructions; and assignments to?

·9· · · · A· · To, um, Pollo; Nicholas Ford; Desmond

10· Jones; and Caden.

11· · · · Q· · And what would happen if you refused to

12· comply with Mr. Ruiz' instructions?

13· · · · A· · Um, you know, he'll -- he'll get mad and --

14· and -- and threaten us.

15· · · · Q· · What would he threaten you with?

16· · · · A· · Um, fight -- um, fighting, or -- or you'll

17· get fired.

18· · · · Q· · So Mr. Ruiz threatened your employment, and

19· threatened to terminate your employment; is that

20· correct?

21· · · · A· · That's correct.

22· · · · Q· · All right.· Did you ever complain to

23· Mr. Ruiz about the incorrect hours?

24· · · · A· · Um, they -- he -- um, he -- he know our

25· hours wasn't right because he was writing 'em down.


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·1· And if -- and you can tell by the timesheets where my

·2· name was spelled wrong on the timesheets, and it

·3· wasn't me writing 'em down.

·4· · · · Q· · How many times did you write or sign your

·5· name on these timesheets you're referring to?

·6· · · · A· · Um, probably about three or four times, I

·7· believe.

·8· · · · Q· · Okay.· And do you know -- and do you know

·9· how many timesheets you were required to sign during

10· your employment with Southern Road & Bridge?

11· · · · A· · Um, five -- five times a week.

12· · · · Q· · And approximately how many weeks did you

13· work at Southern Road & Bridge?

14· · · · A· · Um, I think -- I -- I -- it's been a long

15· time.

16· · · · Q· · Is it fair -- is it fair to say you worked

17· there over 20 weeks at least?

18· · · · A· · Yes, sir.· Probably more than that.

19· · · · Q· · More than that.· But 20 weeks would be 100

20· timesheets; is that correct?

21· · · · A· · Um-hum.

22· · · · Q· · Okay.· Now did Ryan Witt ever instruct you

23· to contact HR when you requested time off from work?

24· · · · A· · No, sir.

25· · · · Q· · Did Ryan Witt tell you that he was in


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·1· charge of vacation days and requesting time off?

·2· · · · A· · Yes, sir.

·3· · · · Q· · Now you previously mentioned Ryan Witt

·4· showed you pictures of women.· And he showed you their

·5· breasts, and their butt; do you recall?

·6· · · · A· · Yes, sir.

·7· · · · Q· · Did he show you any other graphic details

·8· in these pictures?

·9· · · · A· · Um, that was -- that was 'bout it.· And he

10· just -- and he was just telling us that, "Y'all

11· should -- y'all should do it with y'all big black

12· cocks".

13· · · · Q· · And how many pictures did he show you?

14· · · · A· · At least five.

15· · · · Q· · And who was there when he showed you the

16· pictures?

17· · · · A· · Um, all the employees.· Me; Nicholas;

18· Desmond; um, Caden; Pollo; and Isaac.

19· · · · Q· · And was this on a jobsite when he showed

20· you the pictures?

21· · · · A· · Yes, sir.· It was -- it was at our yard

22· at -- well, we was -- we was at work.· We was at our

23· yard loading up -- loading up material.

24· · · · Q· · Okay.· Now you -- you also said that Isaac;

25· Pollo; and Jojo used the "N" word with you or towards


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·1· you; is that correct?

·2· · · · A· · That's correct.

·3· · · · Q· · Did Ryan Witt ever use the "N" word with

·4· you?

·5· · · · A· · No, sir.

·6· · · · Q· · Okay.· Now just to clarify.· How was the

·7· "N" word used?· Was it just used in your presence; or

·8· was it directed towards you; or -- or did both happen?

·9· · · · A· · It was directly towards me and my brother;

10· and -- and Caden.

11· · · · Q· · And could you just talk about the

12· significance of that -- of the "N" word -- of you

13· being called the "N" word while at work by these

14· nonblack coworkers and supervisors?

15· · · · A· · Yeah.· That they'll -- they'll say --

16· they'll be -- they'll say things like, "Oh, I'm

17· sweating like a nigger trying to read".· Things --

18· things like that.

19· · · · Q· · And what does that mean to you?· How does

20· that affect you?

21· · · · A· · It affect me -- it -- it -- it -- you know,

22· it affect me a little bit.· It made me upset, you

23· know, they -- 'cause they all laughing and thinking

24· it's a joke and whatnot.· And I don't -- I didn't

25· think it was funny.


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·1· · · · Q· · Now, again, you -- you spoke about your HR,

·2· or an individual reaching out to -- to meet with you

·3· at 9:30 p.m. at night; is that correct?

·4· · · · A· · Yes, sir.

·5· · · · · · ·MR. JONES, III:· Object to form.

·6· · · · Q· · Do you recall if this was the same time

·7· period in which you allege Isaac Ruiz was threatening

·8· you, and threatening to -- to cause harm to you

·9· physically?

10· · · · A· · Yes, sir.

11· · · · Q· · Do you recall what Isaac Ruiz was exactly

12· threatening to do to you?

13· · · · A· · Um, he -- he said that he was gon' -- he

14· said he was gonna beat my ass.· And he said, "If you

15· wanna talk about it, talk about it like men; or we --

16· we can fight it out".· I got the text message.

17· · · · Q· · And did Isaac Ruiz use physical violence as

18· a threat to other employees; from what you saw?

19· · · · A· · No.· Just -- just against me and my

20· brother.· Because like I said, we kept complaining

21· about what he was doing.

22· · · · Q· · Right.· Now, um, you were shown a

23· picture -- a text message between you and Mr. Witt

24· with a reference to drugs.· Did you ever take a drug

25· test while working for Southern Road & Bridge?


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·1· · · · A· · Um, no, sir.

·2· · · · Q· · Do you know if you consented to having a

·3· drug test taken from you at Southern Road & Bridge?

·4· · · · A· · Could you say it again?

·5· · · · Q· · Do you know if you gave consent to the

·6· company to test you for drugs?

·7· · · · A· · Oh, yes, sir.

·8· · · · Q· · And did they ever test you for drugs during

·9· your employment?

10· · · · A· · No, sir.

11· · · · Q· · And did they ever ask you if you were on

12· drugs during your employment?

13· · · · A· · No, sir.

14· · · · Q· · And was that ever a concern from Isaac or

15· from Ryan Witt to you directly of whether you were on

16· drugs or not?

17· · · · A· · No, sir.· 'Cause I -- I always show -- I

18· was always, um, there on time.· I was -- everything.

19· I was always on time, and nothing -- nothing occurred.

20· They never asked me nothing -- nothing about any of

21· that.

22· · · · · · ·I always did my job; I always showed up on

23· time and all that.· But like I said, when I got upset,

24· that's when I -- that's when I knew they started

25· writing my name down and all that on the timesheets


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·1· and what not.· That's -- that's when they started

·2· getting upset and what not.

·3· · · · Q· · Did you ever see Isaac; Ryan; or -- or any

·4· of the other employees doing drugs or consuming

·5· alcohol on the jobsite?

·6· · · · A· · Um, yes, sir.

·7· · · · Q· · Could you, please, tell me about that?

·8· · · · A· · Um, me and my -- me and my brother would

·9· get in -- get in the truck and whatnot; and, you know,

10· we'll -- we'll see 'em -- they -- they doing cocaine.

11· · · · Q· · And where would they be doing cocaine?

12· · · · A· · In the truck.

13· · · · · · ·MR. JONES, III:· Object to form.

14· · · · Q· · And who is "they"?

15· · · · · · ·MR. JONES, III:· Object to form.

16· · · · A· · Um; Isaac -- Isaac; Pollo; and Jojo.

17· · · · Q· · And did they ever ask you if you wanted to

18· do cocaine with them?

19· · · · · · ·MR. JONES, III:· Objection, form.

20· · · · A· · Yes, sir.

21· · · · Q· · And what was your response at that time?

22· · · · A· · I -- I tell 'em, "I don't do that".

23· · · · Q· · And on -- on the occasion they offered

24· you -- well, how many times did they offer you cocaine

25· at work?


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·1· · · · · · ·MR. JONES, III:· Objection, form.

·2· · · · A· · They offered me and my brother more than a

·3· few times.· And, um, Des -- and Desmond also, and

·4· Caden.

·5· · · · Q· · And on the occasions they offered you

·6· drugs, did you either perform work that -- earlier

·7· that day, or did you perform work the next day?

·8· · · · A· · No.· Um, we still -- still went to work and

·9· performed and whatnot.· I know what -- what they was

10· doing, it was -- it really didn't -- it didn't

11· affect -- it didn't affect me how I work and whatnot.

12· · · · Q· · From your recollection, do you know if

13· Isaac; Jojo; or Pollo were ever disciplined for doing

14· cocaine at work?

15· · · · · · ·MR. JONES, III:· Objection, form.

16· · · · A· · No, sir.· 'Cause we -- we never -- nobody

17· never reported it.

18· · · · Q· · Okay.· Now --

19· · · · A· · And -- and, um, Isaac, he would go -- he'll

20· have a whole six pack at work, and drink -- drinking

21· and stuff and whatnot.

22· · · · Q· · And who -- who saw that?

23· · · · · · ·MR. JONES, III:· Objection, form.

24· · · · A· · Everybody from -- everybody from the job

25· seen him, 'cause -- but like I said, Ryan Witt


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·1· don't -- he don't come -- sometimes, he don't go to

·2· the -- come to the jobsite all the time.· But the

·3· guy -- everybody that was working -- working there

·4· saw, except for the State -- the State Inspectors.

·5· · · · Q· · One moment.· Actually, that's it.· I have

·6· no further questions.· Thank you.· All right.· Arthur,

·7· do you have any more questions?

·8· · · · · · ·MR. JONES, III:· Um, no.· No.· Not at this

·9· · · · time.

10· · · · · · ·MR. BARROUKH:· Okay.· Um, Ms. Court

11· · · · Reporter, we will read.· And we do not need a

12· · · · transcript at this time.

13· · · · · · ·THE COURT REPORTER:· (Thereupon, the court

14· · · · reporter inquired if Mr. Jones was going to be

15· · · · ordering the transcript).

16· · · · · · ·MR. JONES, III:· Um, no.· Not at this time.

17· · · · · · ·MR. BARROUKH:· Thank you, Ms. Court

18· · · · Reporter.

19· · (Thereupon, a discussion off the record was held)

20· · · · · (Thereupon, the remote teleconference

21· · · · video deposition concluded at 2:00 p.m.)

22

23

24

25


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·1· · · · · · · · ·CERTIFICATE_OF_REPORTER

·2

·3· STATE OF FLORIDA

·4· COUNTY OF HILLSBOROUGH

·5

·6· · · ·I, ALTHEA WILLIAMS-GONZALEZ, Court Stenographer,

·7· certify that I was authorized to and did remotely

·8· stenographically report the Remote Teleconference Video

·9· Deposition of ALONZO HAWKINS, pages 1 through 129; that

10· a review of the transcript was requested; and that the

11· transcript is a true record of my stenographic

12· notes.

13

14· · · ·I FURTHER CERTIFY that I am not a relative,

15· employee, attorney, or counsel of any of the parties;

16· nor am I a relative or employee of any of the parties'

17· attorneys or counsel connected with the action; nor am

18· I financially interested in the action.

19

20· · · · · DATED this 2nd day of March, 2025

21

22· · · · · _________________________________

23· · · · · ALTHEA WILLIAMS-GONZALEZ
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·1· · · · · · · ·WITNESS_NOTIFICATION_LETTER

·2

·3· March 2, 2025

·4

·5· Daniel J. Barroukh, Esquire
· · Derek Smith Law Group, PLLC
·6· 520 Brickell Key Drive
· · Suite O-301
·7· Miami, FL 33131

·8
· · In Re:· NICHOLAS FORD AND ALONZO HAWKINS VS. SOUTHERN
·9· · · · · ROAD & BRIDGE, LLC
· · · · · · · ·Remote Teleconference
10· · · · · · ·Video Deposition taken on 1/31/25
· · · · · · · ·U.S. Legal Support Service No.:· 6782703-001
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